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           EXHIBIT “A”
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     1    Michael A. Caddell (SBN 249469)
          mac@caddellchapman.com
    2     Cynthia B. Chapman (SBN 164471)
          cbc@caddellchapman.com
    3     Amy E. Tabor (SBN 297660)                                             Assigned for All Purposes
          aet@caddellchapman.com
    4     CADDELL & CHAPMAN
          P.O. Box 1311
    5     Monterey CA 93942                                                                     cx-103
          Tel.: (713) 751-0400
    6     Fax: (713) 751 -0906

    7     Foster C. Johnson
          fj ohnson@azalaw.com (SBN 289055)
    8     David Warden (pro hac vice forthcoming)
          dwarden@azalaw.com
    9     Joseph Ahmad (pro hac vice forthcoming)
          jahmad@azalaw.com
   10     Nathan Campbell (pro hac vice forthcoming)
          ncampbell@azalaw.com
   11     AHMAD, ZAVITSANOS, & MENSING, P.C.
          1221 McKinney Street, Suite 3460
   12     Houston TX 77010
          Tel: (713) 655-1101
   13     Fax: (713) 655 -0062

   14     Attorneys for Plaintiff

   15                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

   16                                              COUNTY OF ORANGE

   17       JANE DOE, individually and on
            behalf of others similarly situated,
   18                                                         CASE NO.
                           Plaintiff,
   19
                     V.                                      CLASS ACTION COMPLAINT
   20                                                        AND DEMAND FOR JURY TRIAL
            HOAG MEMORIAL
   21       PRESBYTERIAN HOS PITAL,

   22                      Defendant.

   23

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   25

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 1              Plaintiff Jane Doe, individually and on behalf of all other California citizens similarly

 2   situated, brings suit against Defendant Hoag Memorial Presbyterian Hospital d/b/a Hoag

 3   Hospital Irvine, Hoag Hospital Newpo1i Beach, Hoag O1ihopedic Institute, Hoag Clinic, Hoag

 4   Family Cancer Institute, Hoag Heaii & Vascular Institute, Hoag Neurosciences Institute, Hoag

 5   Women 's Health Institute, Hoag Breast Care Center, and Hoag Health Network, et al.

 6   ("Defendant" or "Hoag"), and upon personal knowledge as to Plaintiffs own conduct and on

 7   infonnation and belief as to all other matters based upon investigation by counsel, alleges as

 8   follows:

 9                                      I. SUMMARY OF ALLEGATIONS
10              1.      This case ai·ises from Defendant's systematic violation of the medical privacy

11   rights of patients and users of Defendant's services, resulting in the disclosure of highly

12   sensitive personal information to Facebook without those patients ' or users ' knowledge or

13   consent.

14              2.      Defendant's notice of "Patient Rights" assures patients and prospective

15   patients that they are entitled to " [c]onfidential treatment of all communications and records

16   pe1iaining to your care and stay in the hospital." 1 Likewise, Defendant's "Notice of Privacy

17   Practices" tells patients that "We understand that your medical infonnation is personal" and

18   that Hoag is required to " [k]eep your medical info1mation private." 2 Indeed, Defendant

19   promises patients and prospective patients that it will never disclose their medical info1mation

20   "for marketing pmposes" or make "disclosures that constitute the sale of your medical

21   info1mation" without patients ' "written authorization. " 3 Contraiy to these assurances,

22   Defendant does not follow these policies, nor does it follow the law prohibiting such

23   disclosures.

24
25

26   1   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_PatientlnfoBooklet_ 1022_4b.pdf
     2   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_PatientlnfoBooklet_ 1022_4b.pdf
27
     3   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_PatientlnfoBooklet_ 1022_4b.pdf
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 1           3.      Since at least 2020, Defendant has disclosed info1mation about prospective and

 2   actual patients-including their status as actual or potential patients, their actual or potential

 3   physicians, their actual or potential medical treatments, the hospitals they visited or m ay visit,

 4   and their personal identities-to Facebook and other third patties without their knowledge,

 5   authorization, or consent.

 6           4.      Defendant discloses this protected health info1mation through the deployment

 7   of various digital mai·keting and automatic rerouting tools embedded on its websites that

 8   purposefully and intentionally redirect Personal Health Info1mation to Facebook, w hich

 9   exploits that infonnation for advertising purposes. Defendant's use of these rerouting tools

10   causes personally identifiable infonnation and the contents of communications exchanged

11   between actual and prospective patients with Defendant to be automatically redirected to

12   Facebook in violation of those patients' reasonable expectations of privacy, their rights as

13   patients and citizens of California, and both the express and implied promises of Defendant.

14           5.      Defendant's conduct in disclosing such protected health info1mation to

15   Facebook violates California law, including the California Invasion of Privacy Act ("CIPA"),

16   CAL. PENAL CODE§§ 630, et seq .; the California Confidentiality of Medical Infonnation Act

17   ("CMIA"), CAL. CML CODE §§ 56.06, 56.10, 56.101; the Comprehensive Computer Data

18   Access and Fraud Act ("CDAFA"), CAL. PENAL CODE § 502; and Invasion of Privacy and

19   Violation of the California Constitution, ART. 1, § 1.

20           6.      Plaintiff continues to desire to seai·ch for health infonnation on Hoag 's

21   websites. Plaintiff will continue to suffer haim if the website is not redesigned. If the website

22   were redesigned to comply with applicable laws, Plaintiff would use Hoag 's websites to

23   seai·ch for health infonnation in the future.

24           7.      On behalf of herself and all similai·ly situated persons, Plaintiff seeks an order

25   enjoining Defendant from fuither unauthorized disclosures of personal info1mation; awai·ding

26   statuto1y dainages in the am ount of at least $5,000 per violation, attorney's fees and costs; and

27   granting any other preliminaiy or equitable relief the Comt deems appropriate.

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 1                                                     II. PARTIES

 2   A. Plaintiff

 3              8.       Plaintiff Jane Doe is a resident of Orange County, California.

 4              9.       Plaintiff Jane Does has used the Hoag website to sear ch for Hoag doctors and

 5   medical treatment.

 6              10.      Plaintiff Jane Doe's use of the Hoag website entailed providing Jane Doe 's

 7   sensitive medical infonnation, such as conditions for which she was seeking ti·eatment.

 8              11.      Plaintiff Jane Doe has been a patient at Hoag Hospital Newpo1i Beach and thus

 9   also a patient of Defendant.4

10   B. Defendant

11              12.      Defendant Hoag Memorial Hospital Presbyterian d/b/a Hoag Hospital Irvine,

12   Hoag Hospital Newport Beach, Hoag O1ihopedic Institute, Hoag Clinic, Hoag Family Cancer

13   Institute, Hoag Heart & Vascular Institute, Hoag Neurosciences Institute, Hoag Women 's

14   Health Institute, Hoag Breast Care Center, and Hoag Health Network, et al. is a California

15   corporation with its principal place of business located at One Hoag Drive, Newpo1i Beach,

16   California 92663. Hoag consists of multiple acute-care hospitals, health centers, and urgent

17   care centers. Collectively, Hoag ti·eats nearly 30, 000 inpatients and 350,000 outpatients

18   annually.

19                                       III. JURISDICTION AND VENUE

20              13.      This Court has jmisdiction over Defendant because it regularly conducts

21   business in California, including in Orange County, and has its principal place of business in

22   California.

23              14.      Venue is appropriate in this Court because the injuries giving rise to the alleged

24   causes of action occmTed in Orange County and because Plaintiff Jane Doe resided in Orange

25   County at the time the offer of services for personal use was made by Defendant. See CAL.

26   C.C.P. §§ 395(a) & 395(b). Venue is also appropriate in this Court because Orange County is

27
     4
         https://www.hoag.org/locations/hoag-hospital-nev.'Port-beach/
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 1   the county in which the cause, or some paii of the cause, ai·ose for the recove1y of a penalty

 2   imposed by statute. See CAL. C.C.P. § 393(a).

 3                                  IV. FACTUAL BACKGROUND

 4          15.     Plaintiff Jane Doe visited Defendant's website to look for doctors, reseai·ch

 5   treatments, and investigate her insurance options at https://www.hoag.org. Plaintiff had

 6   concerns about a brain anemysm she had suffered and about receiving healthcare to help with

 7   her recove1y. Plaintiff entered data on Hoag's website, including sensitive medical

 8   infonnation and details about her medical condition. She also seai·ched for a doctor on Hoag' s

 9   website to help her with treatment.

10          16.     Unbeknownst to Plaintiff Jane Doe, Hoag had embedded computer code on its

11   website that took eve1y seai·ch tenn she entered and eve1y page of the site she visited and sent

12   that infonnation directly to Facebook, the lai·gest and most profitable social media company

13   on the planet. Hoag accomplished this by installing Facebook's "Meta Pixel" tool on almost

14   eve1y page of Hoag's website. The Meta Pixel worked like a listening device. Each time

15   Plaintiff Jane Doe typed a seai·ch term, the Meta Pixel recorded the infonnation she entered

16   and transmitted it to Facebook, along with identifying infonnation that let Facebook know

17   exactly who Jane Doe was. Instantaneously, Facebook knew that Jane Doe was interested in

18   medical treatment for her concussion . Facebook then took this info1mation and added it to all

19   of the oth er info1mation it keeps about consumers, m atching Jane Doe's interest in medical

20   treatment with her Facebook profile, name, address, interests, and other websites she had

21   visited. This info1mation then becaine available for Facebook's adve1iisers to use when

22   Facebook sold them targeted advertising services.

23          17.     Plaintiff was surprised and troubled that info1mation she believed was being

24   communicated only to Hoag for the pmpose of obtaining medical treatment had been sent to

25   Facebook and used to tai·get adve1iisements to her. Plaintiff subsequently leained that

26   thousands of Hoag patients like her had similai·ly had their privacy rights violated. Most of

27   these consumers were likely not even awai·e of this privacy violation, much less able to hire

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 1   counsel to stop the illegal conduct. Plaintiff therefore now brings these claims to coITect

 2   Hoag's privacy violations and obtain relief for herself and thousands of similarly situated

 3   consumers.

 4                               V. CLASS ACTION ALLEGATIONS

 5   A. Defendant routinely discloses the protected health information of patients and

 6
        users of its services to Facebook.

 7          18.     Article I, Section 1 of the California Constitution provides: "All people are by

 8   nature free and independent and have inalienable rights. Among these are enjoying and

 9   defending life and libe1ty, acquiring, possessing, and protecting prope1iy, and pm-suing and

10   obtaining safety, happiness, and privacy." California Constitution, Article I, Section 1.

11          19.     Medical patients and those seeking medical treatment in California such as

12   Jane Doe have a legal interest in preserving the confidentiality of their commm1ications with

13   health care providers and have reasonable expectations of privacy that their personally

14   identifiable info1mation and communications will not be disclosed to third paities by

15   Defendant without their express written consent and authorization.

16          20.     As a health cai·e provider, Defendant has common law and statuto1y duties to

17   protect the confidentiality of patient infonnation and commm1ications.

18          21.     Defendant expressly and impliedly promises patients that it will maintain and

19   protect the confidentiality of personally identifiable patient info1mation and communications.

20          22.     Defendant operates websites for cmTent and prospective patients, including

21   https://www.hoag.org and https://www.hoaghealth .org .

22          23.     Defendant's websites ai·e designed for interactive communication with patients

23   and users, including scheduling appointments, seai·ching for physicians, paying bills,

24   requesting medical records, leaining about medical issue treatment options, and joining

25   support groups.

26          24.     Notwithstanding prospective and cmTent patients' reasonable expectations of

27   privacy, Defendant's legal duties of confidentiality, and Defendant's express promises to the

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 1   contraiy,        Defendant discloses the contents             of prospective and cmTent patients '

 2   communications an d protected healthcare info1mation via automatic re-routing mechanisms

 3   embedded in the websites operated by Defendant without patients' knowledge, auth orization,

 4   or consent.

 5   B. The Nature of Defendant's Unauthorized Disclosure of Patients' Healthcare
        Information
 6
                25.      Defendant 's disclosure of cmTent and prospective patients ' personal healthcare
 7
     info1mation occurs because Defendant intentionally deploys source code on the websites it
 8
     operates, including https :/ /www.hoag.org an d https :/ /www.hoaghealth .org, that causes cunent
 9
     and prospective patients ' personally identifiable info1mation (as well as the exact contents of

     th eir communications) to be transmitted to third paiiies.
11
                26.      By design, third paiiies receive and record the exact contents of these
12
     communications before the full response from Defendant has been rendered on the screen of
13
     th e patient's or user's computer device and while the communication with Defendant remains
14
     ongomg.
15
                27.      Websites like th ose maintained by Defendant are hosted by a computer server
16
     through which th e businesses in chai·ge of the website exchange and communicate with
17
     internet users via their web browsers.
18
                28.      The basic command that web browsers use to exchange data an d user
19
     communications is called a GET request. 5 For example, when a patient types "heart failure
20
     treatment" into the seai·ch box on Defendant's website and hits 'Enter,' the patient's web
21
     browser makes a connection with the se1ver for Defendant 's website and sends the following
22
     request: "GET seai·ch/q=heaii+failure+treatment."
23
                29.      When a se1ver receives a GET request, th e info1mation becomes appended to
24
     th e next URL (or "Unifo1m Resource Locator") accessed by the user. For example, if a user
25
     enters "respirato1y problems" into the que1y box of a website seai·ch engine, and th e search
26

27
     5   https://wwv.r.w3 schools. com/tags/ref_ httpmethods.asp
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 1   engine transmits this infonnation using a GET request method, then the words "respirato1y "

 2   and "problems" will be appended to the que1y string at the end of the URL of the webpage

 3   showing the search results.

 4          30.     The other basic transmission command utilized by web browsers is POST,

 5   which is typically employed when a user enters data into a fo1m on a website and clicks 'Enter'

 6   or some other fonn of submission button. POST sends the data entered in the fo1m to the

 7   server hosting the website that the user is visiting.

 8          31.     ill response to receiving a GET or POST command, the server for the website

 9   with which the user is exchanging info1mation will send a set of instmctions to the web

10   browser and command the browser with source code that directs the browser to render the

11   website's responsive communication.

12          32.      Unbeknownst to most users, however, the website's se1ver may also redirect

13   the user's communications to third paiiies. Typically, users are given no notice that these

14   disclosures are being made. Third pruiies (such as Facebook and Google) use the info1mation

15   they receive to track user data and communications for mai·keting pmposes.

16          33.     ill many cases, third-pruty marketing companies acquire the content of user

17   communications through a l xl pixel (the smallest dot on a user's screen) called a tracking

18   pixel, a web-bug, or a web beacon. These tracking pixels are tiny and ru·e pmposefully

19   camouflaged to remain invisible to users.

20          34.     Tracking pixels can be placed directly on a web page by a developer, or they

21   can be funneled through a "tag manager" se1vice to make the invisible tracking nm more

22   smoothly. A tag manager fmth er obscures the third parties to whom user data is transmitted.

23          35.     These tracking pixels can collect dozens of data points about individual

24   website users who interact with a website. One of the world's most prevalent tracking pixels,

25   called the Meta Pixel, is provided by Facebook.

26          36.      A web site developer who chooses to deploy third-paiiy source code, like a

27   tracking pixel, on their website must enter the third-pruty source code directly onto their

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 1   website for eve1y third party they wish to send user data and communications . This source

 2   code operates invisibly in the background when users visit a site employing such code.

 3   C. Tracking pixels provide third parties with a trove of personally identifying data
        permitting them to uniquely identify the individuals browsing a website.
 4
                37.      Tracking pixels are lines of source code embedded in websites such as
 5
     Defendant's. Tracking pixels are paiiicularly pernicious because they result in the disclosure
 6
     of a variety of data that permits third paiiies to detennine the unique personal identities of
 7
     website visitors . While most users believe that the internet provides them with anonymity
 8
     when, for example, they browse a hospital website for treatment info1mation about a medical
 9
     condition, that is not the case when the hospital website has embedded third paiiy tracking
10
     devices, as Defendant has.
11
                38.      For exainple, an IP address is a number that identifies a computer connected to
12
     the internet. IP addresses ai·e used to identify and route communications on the internet. IP
13
     addresses of individual users ai·e used by internet service providers, websites, and tracking
14
     companies to facilitate and track internet communications and content. IP addresses also offer
15
     adve1iising companies like Facebook a unique and semi-persistent identifier across devices-
16
     one that has limited privacy controls. 6
17
                39.      Because of their uniquely identifying chai·acter, IP addresses ai·e considered
18
     protected personally identifiable info1mation. Tracking pixels can (and typically do) collect
19
     website visitors ' IP addresses.
20
                40.      Likewise, internet cookies also provide personally identifiable infonnation .
21
     Cookies are small text files that web servers can place on a user 's browser and computer when
22
     a user's browser interacts with a website server. Cookies ai·e typically designed to acquire and
23
     record an individual internet user's communications and activities on websites and were
24
     developed by prograinmers to aid with online adve1iising.
25

26

27
     6   https://adtechexplained.com/the-future-of-ip-address-as-an-advertising-identifier/
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 1               41.     Cookies are designed to operate as a means of identification for internet users.

 2   Adve1iising companies like Facebook and Google have developed methods for m onetizing

 3   and profiting from cookies. These companies use third-paiiy tracking cookies to help th em

 4   acquire and record user data and communications in order to sell tai·geted adve1iising that is

 5   customized to a user's personal communications and browsing histo1y. To build individual

 6   profiles of internet users, third paiiy adve1iising companies assign each user a unique (or a set

 7   of unique) identifiers to each user.

 8               42.     Cookies ai·e considered personal identifiers, an d tracking pixels can collect

 9   cookies from website visitors.

10               43.     A third type of personally identifying info1m ation is what data companies refer

11   to as a "browser-finge1p rint." A browser-finge1p rint is infonnation collected about a

12   computing device that can be used to identify the specific device.

13               44.     These browser-finge1p rints can be used to uniquely identify individual users

14   when a computing device's IP address is hidden or cookies are blocked and can provide a

15   wide variety of data. As Google explained, "With finge1printing, developers have found ways

16   to use tiny bits of infon nation th at va1y between users, such as what device they have or what

17   fonts they have installed to generate a unique identifier which can then be used to match a

18   user across websites."7 The value of browser-finge1printing to advertisers (an d trackers who

19   want to monetize aggregated data) is that it can be used to track website users j ust as cookies

20   do, but it employs much more subtle techniques.8 Additionally, unlike cookies, users cannot

21   cleai· th eir finge1print and therefore cannot control how their personal info1mation is

22   collected.9

23               45.     In 2017, reseai·chers dem onstrated that browser finge1printing techniques can

24   successfully identify 99 .24 percent of all users. 10

25
     7   https://www.blog.google/products/chrome/building-a-more-private-web/
26   8   https://pixelprivacy.com/resources/browser-fingerprinting/
27   9
         https://www.blog.google/products/chrome/building-a-more-private-web/
      10   https://www .ndss-symposium.org/ndss2017/ndss-201 7-programme/cross-browser-fingerprinting-os-and-
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 1               46.      Browser-finge1prints are considered personal identifiers, and tracking pixels

 2   can collect browser-fingerprints from website visitors.

 3               47.      A fourth kind of personally identifying info1mation is the unique user identifier

 4    (such as Facebook's "Facebook ID") that pennits companies like Facebook to quickly and

 5   automatically identify the personal identity of its user across the internet whenever the

 6   identifier is encountered. A Facebook ID is a number string that is connected to a user's

 7   Facebook profile.11 Anyone with access to a user 's Facebook ID can locate a user's Facebook

 8   profile. 12

 9               48.      Unique personal identifiers such as a person 's Facebook ID are likewise

     capable of collection through pixel trackers.

11   D. Facebook's Business Model: Exploiting User Data to Sell Advertising

12               49.      Facebook, a social media platfonn founded in 2004 and today operated by

13   Meta Platfonns, Inc., was originally designed as a social networking website for college

14   students.

15               50.      Facebook describes itself as a "real identity" platfo1m.13 This means that users

16   are pennitted only one account and must share "the name they go by in eve1yday life." 14 To

17   that end, Facebook requires users to provide their first and last names, along with their

18   bi1ihday, telephone number and/or email address, and gender, when creating an account. 15

19               51.      In 2007, realizing the value of having direct access to 1nillions of consumers,

20   Facebook began monetizing its platfonn by launching "Facebook Ads," proclaiming this

21   service to be a "completely new way of advertising online," that would allow "adve1iisers to

22

23
     hardware-level-features/
24    11
           https://www.facebook.com/help/211813265517027
      12   https://smallseotools.com/find-facebook-id/
25
      13 https://www.wsj.com/a1t icles/how-many-users-does-facebook-have-the-company-sfluggles-to-figure-it-out-
26    l l634846701#:~ :text=Fa.cebook%20said%20in%20its%20most,of%20them%20than%20developed%20ones.
      14
           https://transparency fb.c01n/policies/community-standards/account-integrity-and-authentic-identity/
27
      15   https://www .facebook. com/help/40664473943163 3
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 1   deliver m ore tailored and relevant ads." 16 Facebook has since evolved into one of the lar gest

 2   adve1tising companies in th e world. 17 Facebook can target users so effectively because it

 3   surveils user activity both on and off its website through the use of tracking pixels. 18 This

 4   allows Facebook to make inferences about users based on their interests, behavior, and

 5   connections. 19

 6               52.      Today, Facebook provides adve1tising on its own social media platfonns, as

 7   well as other websites through its Facebook Audience Network. Facebook has more th an 2.9

 8   billion users.20

 9               53.      Facebook m aintains profiles on users that include users' real names, locations,

10   em ail addresses, friends, likes, and communications. These profiles are associated with

11   personal identifiers, including IP addresses, cookies, an d other device identifiers. Facebook

12   also tracks non-users across th e web through its internet marketing products an d source code.

13   Facebook employs algorithms, powered by machine learning tools, to detennine what

14   adve1tisements to show users based on their habits and interests, and utilizes tracking software

15   such as the Meta Pixel to m onitor and exploit users' habits an d interests.

16               54.      Tracking info1mation about users' habits and interests is a critical component

17   of Facebook's business model because it is precisely this kind of info1mation that allows

18   Facebook to sell advertising to its custom ers.

19               55.      Facebook offers several adve1t ising options based on the type of audience that

20   an advertiser wants to target. Those options include targeting "Core Audiences," "Custom

21   Audiences," "Look Alike Audiences," and even more granulated approaches within audiences

22   called "Detailed Targeting." Each of Facebook 's adve1tising tools allows an advertiser to

23   target users based, among other things, on their personal data, including geographic location,

24
      16   https://about.fb.com/news/2007/ l l/facebook-unveils-facebook-ads/
25    17
           https://wv.rw. pewresearch. org/fact-tank/202 1/06/01 /facts-about-americans-and-facebook/
26    18   https://wv.rw.facebook.com/business/help/742478679120153?id= l205376682832142
      19   https://wv.rw.facebook.com/business/ads/ad-targeting
27
     20    https://wv.rw. statista.com/statistics/264810/number-of-monthly-active-facebook-users-worldwide/
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 1   demographics (e.g ., age, gender, education, job title, etc.), interests, (e.g., prefe1Ted food,

 2   movies), connections (e.g ., particular events or Facebook pages), and behaviors (e.g.,

 3   purchases, device usage, and pages visited) . This audience can be created by Facebook, the

 4   adve1tiser, or both working in conjunction.

 5              56.      Ad Targeting has been extremely successful due to Facebook 's ability to target

 6   individuals at a granular level. For example, among many possible target audiences,

 7   "Facebook offers adve1tisers 1.5 million people 'whose activity on Facebook suggests that

 8   they're more likely to engage with/distribute liberal political content' and nearly seven million

 9   Facebook users who 'prefer high-value goods in Mexico. "'21 Aided by highly granular data

10   used to target specific users, Facebook's adve1tising segment quickly became Facebook's

11   most successful business unit, with millions of companies and individuals utilizing

12   Facebook's adve1t ising se1vices.

13   E. Facebook's Meta Pixel tool allows Facebook to track the personal data of
        individuals across a broad range of third-party websites.
14
                57.      To power its adveitising business, Facebook uses a variety of tracking tools to
15
     collect data about individuals, which it can then share with adve1t isers. These tools include
16
     software development kits incorporated into third-pa1ty applications, its "Like" and "Share"
17
     buttons (known as "social plug-ins"), and other methodologies, which it then uses to power
18
     its adve1tising business.
19
                58.      One ofFacebook 's most powerful tools is called the "Meta Pixel." Once a third
20
     paity like Defendant installs the Meta Pixel on its website, by default it begins sending user
21
     infonnation to Facebook automatically.22
22
                59.      The Meta Pixel is a snippet of code embedded on a third-paity website that
23
     tracks users' activities as users navigate through a website.23 Once activated, the Meta Pixel
24
25

26   21   https://wv.rw.nytimes.com/2018/04/ 11/technology/facebook-privacy-hearings.html
     22   https://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
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     23   https://developers.facebook.com/docs/meta-pixel/
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 1   "tracks the people and type of actions they take."24 Meta Pixel can track and log each page a

 2   user visits, what buttons they click, as well as specific infonnation that users input into a

 3   website.25 The Meta Pixel code works by sending Facebook a detailed log of a user's

 4   interaction with a website such as clicking on a product or rnnning a search via a que1y box.

 5   The Meta Pixel also captmes infonnation such as what content a user views on a website or

 6   how far down a web page they scrolled. 26

 7              60.      When someone visits a third-party website page that includes the Meta Pixel

 8   code, the Meta Pixel code is able to replicate and send the user data to Facebook through a

 9   separate (but simultaneous) channel in a manner that is undetectable by the user. 27 The

     infonnation sent to Facebook includes a refeITer header (or "URL"), which includes

11   significant infonnation regarding the user's browsing hist01y, including the identity of the

12   individual internet user and the web server, as well as the name of the web page and the search

13   tenns used to find it.28 These search tenns and the resulting URLs divulge a user's personal

14   interests, queries, and habits on third-paity websites operating outside of Facebook's own

15   platfo1m. fu this manner, Facebook tracks users' browsing histories on third-paity websites

16   and compiles these browsing histories into personal profiles which ai·e sold to advertisers to

17   generate revenue. 29

18              61.      For example, if Meta Pixel is inco1porated on a shopping website, it may log

19   what seai·ches a user perfonned, which itelllS of clothing a user clicked on, whether they added

20   an item to their ca.ii, as well as what they pm-chased. Along with this data, Facebook also

21   receives personally identifying info1mation like IP addresses, Facebook IDs, and other data

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          https://www.facebook.com/business/goals/retargeting
24   25   https://www.facebook.com/business/help/742478679120l 53?id=l205376682832l42
     26   https://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
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     27
       See, e.g ., In re Facebook, Inc. Internet Tracking Litigation, 956 F.3d 589, 596 (9th Cir. 2020) (explaining
26   functionality ofFacebook soft•Nare code on third-party websites) .
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          In re Facebook, 956 F.3d at 596.
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          In re Facebook, 956 F.3d at 596.
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 1   that allow Facebook to identify the user. All this personally identifying data is included each

 2   time the Meta Pixel fo1wards a user 's interactions with a third-party website to Facebook's

 3   servers. Once Facebook receives this info1mation , Facebook processes it, analyzes it, and

 4   assimilates it into datasets like its Core Audiences and Custom Audiences. Facebook can then

 5   sell this infonnation to companies who wish to display advertising for products similar to what

 6   the user looked at on the original shopping website.

 7              62.      These communications with Facebook happen silently, without users '

 8   knowledge. By default, the transmission of information to Facebook's servers is invisible.

 9   Facebook's Meta Pixel allows third-party websites to send users ' personal infonnation to

     match them with their Facebook or Instagram profiles, even if they are not logged into

11   Facebook at the time. 30

12              63.      In exchange for installing its Meta Pixel, Facebook provides website owners

13   like Defendant with analytics about the ads they've placed on Facebook and Instagram and

14   tools to target people who have visited their website .31

15              64.      Facebook shares analytic metrics with the website host, while at the same time

16   sharing the info1mation it collects with third-party adve1tisers who can then target users based

17   on the info1mation collected and shared by Facebook.

18              65.      Facebook touted Meta Pixel (which it originally called "Facebook Pixel") as

19   "a new way to repo1t and optimize for conversions, build audiences and get rich insights about

20   how people use yow- website." 32 According to F acebook, the Meta Pixel is an analytics tool

21   that allows business to measm e the effectiveness of their adveitising by understanding the

22   actions people take on their websites."33

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     30   https://themarkup.org/show-your-work/2022/04/28/how-we-built-a-meta-pixel-inspector
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     31https://themarkup.org/pixel-hunt/2022/06/ 16/facebook-is-receiving-sensitive-medical-information-from-
26   hospital-websites
     32   https://developers. facebook.com/ads/blog/post/v2/2015/ 10/ 14/announcing-facebook-pixeV
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 1              66.      Facebook warns web developers that its Pixel is a personal identifier because

 2   it enables Facebook "to match your website visitors to their respective Facebook User

 3   accounts."34

 4              67.      Facebook recommends that its Meta Pixel code be added to the base code on

 5   eve1y website page (including the website's persistent header) to reduce the chance of

 6   browsers or code from blocking Pixel's execution an d to ensure that visitors will be tracked.35

 7              68.      Once Meta Pixel is installed on a business's website, the Meta Pixel tracks

 8   users as they navigate through the website and logs which pages are visited, which buttons are

 9   clicked, the specific info1mation entered in fonns (including personal information), as well as

     "optional values" set by the business website. 36 Meta Pixel tracks this data regardless of

11   whether a user is logged into Facebook. 37 It is unclear how Facebook exploits the data

12   collected from nonusers, but when asked by Congress about Facebook's business practices,

13   Mark Zuckerberg conceded that company maintains "shadow profiles" on nonusers of

14   Facebook. 38

15              69.      For Facebook, the Meta Pixel tool embedded on third-paiiy websites acts as a

16   conduit for infonnation, sending the infonnation it collects to Facebook through scripts

17   rnnning in a user's internet browser, similai· to how a "bug" or wiretap can capture audio

18   info1mation. The infonnation is sent in data packets, which include personally identifying data

19   such as a user's IP address.

20              70.      For example, the Meta Pixel is configured to automatically collect "HTTP

21   Headers" and "Pixel-specific data. " 39 HTTP headers collect data including "IP addresses,

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24   35   https://developers.facebook.co1n/docs/meta-pixel/get-staited
     36   https://developers.facebook.co1n/docs/meta-pixel/
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       https://themarkup.org/pixel-hunt/2022/06/ 15/facebook-and-anti-abortion-clinics-are-collecting-highly-
26   sensitive-info-on-would-be-patients
     38   https://techcrnnch.corn/2018/04/ 11/facebook-shadow-profiles-hearing-lujan-zuckerberg/
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     39   https://developers.facebook.co1n/docs/meta-pixel/
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 1   infonnation about the web browser, page location, document, refe1Ter and person using the

 2   website."40 Pixel-specific data includes such data as th e "Pixel ID and the Facebook

 3   Cookie."41

 4              71.       Meta Pixel takes the infonnation it haivests and sends it to Facebook with

 5   personally identifiable infonnation, such as a user 's IP address, naine, email, phone number,

 6   and specific Facebook ID, which identifies an individual's Facebook user account. Anyone

 7   who has access to this Facebook ID can use this identifier to quickly and easily locate, access,

 8   and view a user's coITesponding Facebook profile. Facebook stores this inf01m ation on its

 9   se1vers, an d, in some instances, maintains this info1mation for yeai·s. 42

                72.       Facebook has a number of ways to uniquely identify the individuals whose

11   data is being fo1warded from third-paiiy websites through the Meta Pixel.

12              73.       If a user has a Facebook account, the user data collected is linked to the

13   individual user's Facebook account. For example, if the user is logged into their Facebook

14   account when the user visits a third-paiiy website where the Meta Pixel is installed, many

15   common browsers will attach third-paiiy cookies allowing Facebook to link the data collected

16   by Meta Pixel to the specific Facebook user.

17              74.       Alternatively, Facebook can link the data to a user 's Facebook account through

18   th e "Facebook Cookie." 43 The Facebook Cookie is a workai·ound to recent cookie-blocking

19   applications used to prevent websites from tracking users. 44

20              75.       Facebook can also link user data to Facebook accounts through identifying

21   info1mation collected through Meta Pixel through what Facebook calls "Advanced

22   Matching." These ar e two fonns of Advan ced Matching: manual matching and automatic

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24   40   https://developers.facebook.com/docs/meta-pixel/
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          https://developers.facebook.com/docs/meta-pixel/
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       https://themarkup.org/pixel-hunt/2022/06/ 16/facebook-is-receiving-sensitive-medical-information-from-
26   hospital-websites
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          https://clearcode.cc/blog/facebook-first-party-cookie-adtech/
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          https://clearcode.cc/blog/difference-betv.•een-first-party-third-party-cookies/
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 1   matching. 45 Manual matching requires the website developer to manually send data to

 2   Facebook so that users can be linked to data. Automatic matching allows Meta Pixel to scow-

 3   th e data it receives from third-paiiy websites to search for recognizable fields, including

 4   names and email addresses that con espond with users ' Facebook accounts.

 5              76.     While the Meta Pixel tool "hashes" personal data- obscming it through a fo1m

 6   of c1y ptography before sending the data to Facebook-that hashing does not prevent

 7   Facebook from using the data. 46 In fact, Facebook explicitly uses the hashed info1mation it

 8   gathers to link pixel data to Facebook profiles. 47

 9              77.     Facebook also receives personally identifying info1mation in the form of user's

10   unique IP addresses that stay the same as users visit multiple websites. When browsing a third-

11   paiiy website that has embedded Facebook code, a user 's unique IP address is f01warded to

12   Facebook by GET requests, which are triggered by Facebook code snippets. The IP address

13   enables Face book to keep track of the website page visits associated with that address.

14              78.     Facebook also places cookies on visitors ' computers. It then uses these cookies

15   to store info1mation about each user. For example, the "c_user" cookie is a unique identifier

16   th at identifies a Facebook user's ID. The c_user cookie value is the Facebook equivalent of a

17   user identification number. Each Face book user has one-and only one-unique c_user

18   cookie. Facebook uses th e c user cookie to record user activities and communications.

19              79.     The data supplied by th e c_user cookie allows Facebook to identify the

20   Facebook account associated with the cookie. One simply needs to log into Facebook, and

21   th en type www.facebook.com/#, with the c_user identifier in place of the"#." For example,

22   th e c_user cookie for Mai·k Zuckerberg is 4. Logging into Facebook and typing

23   www.facebook.com/4 in the web browser retrieves Mai·k Zuckerberg's Facebook page:

24   www.facebook.com/zuck.

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          https://www .facebook.com/business/help/61177 4685654668?id= 12053 76682832142
26   46   https://www .facebook.com/business/help/61177 4685654668?id= 12053 76682832142
27   47
      https ://themarkup.org/pixel-hunt/2022/06/ 16/facebook-is-receiving-sensitive-medical-info1mation-from-
     hospital-websites
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 1              80.       Similarly, the "lu" cookie identifies the last Facebook user who logged in using

 2   a specific browser. Like IP addresses, cookies ar e included with each request that a user's

 3   browser makes to Facebook 's se1vers. Facebook employs similar cookies such as "datr," "fr,"

 4   "act," "presence," "spin," "wd," "xs," and "fbp" cookies to track users on websites across th e

 5   intem et. 48 These cookies allow Facebook to easily link the browsing activity of its users to

 6   th eir real-world identities, as wells as such highly sensitive data as medical infon nation,

 7   religion, and political preferences. 49

 8              81.       Facebook also uses browser fingerprinting to uniquely identify individuals.

 9   Web browsers have several attributes that vaiy between users, like the browser softwai·e

     system, plugins that have been installed, fonts that ai·e available on the system , th e size of th e

11   screen, color depth , and m ore. Together, these attributes create a fingerprint that is highly

12   distinctive. The likelihood that two browsers have the saine finge1p rint is at least as low as 1

13   in 286,777, and the accuracy of the finge1print increases when combined with cookies and th e

14   user's IP address. Facebook recognizes a visitor's browser finge1print each tim e a Facebook

15   button is loaded on a third-party website page. Using th ese vai-ious methods, Facebook can

16   identify         individual    users,    watch      as    they    browse        th ird-paiiy   websites   like

17   https://www.hoag.org/, and target users with adveliising based on their web activity.

18   F. Defendant has discreetly embedded the Meta Pixel tool on its website, resulting in
        the capture and disclosure of patients' and users' protected health information to
19      Facebook.

20              82.       A third-party website that inco1porates Meta Pixel gains info1m ation about its

21   customers through Meta Pixel that can be used to tai·get them with adve1iisements, as well as

22   to measure the results of adve1iising effo1is.

23              83.       Facebook's intrusion into th e personal data of visitors to th ird-party websites

24   inco1porating the Meta Pixel is both significant an d unprecedented. When Meta Pixel is

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     e 1cf6ffbdf8a#:~ :text=browser%20session%20ends. -
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          https://securehomes.esat.kuleuven.be/~gacar/fb_ tracking/fb_plugins. pdf
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 1   incorporated into a third-party website, unbeknownst to users and without their consent,

 2   Facebook gains the ability to smTeptitiously gather eve1y user interaction with th e website

 3   ranging from what th e user clicks on to th e personal infonnation entered on a website search

 4                                                                      °
     bar. Facebook aggregates this data against all websites. 5 Facebook benefits from obtaining

 5   this infonnation because it improves its adve1tising network, including its machine-learning

 6   algorithms and its ability to identify and target users with ads.

 7              84.      Facebook provides websites using Meta Pixel with the data it captures in the

 8   "Meta Pixel page" in Events Manager, as well as tools and an alytics to reach th ese individuals

 9   through futm e Facebook ads.51 For example, websites can use this data to create "custom

10   audiences" to target th e specific F acebook user, as well as other Facebook users who match

11   "custom audience's" criteria. 52 Businesses that use Meta Pixel can also search through Meta

12   Pixel data to find specific types of users to target, such as men over a ce1tain age.

13              85.      Meta Pixel is wildly popular with businesses and embedded on millions of

14   websites. Shockingly, Meta Pixel is incorporated on many websites that are used to store and

15   convey sensitive medical infonnation, which by law must be kept private. Recently,

16   investigative journalists have determined that Meta Pixel is embedded on the websites of many

17   of the top hospitals in th e United States. 53 This results in sensitive medical info1m ation being

18   collected and then sent to Facebook when a user interacts with th ese hospital websites. For

19   example, when a user on many of these hospital websites clicks on a "Schedule Online" button

20   next to a doctor 's name, Meta Pixel sends the text of the button, the doctor's name, and the

21   search te1m (such as "cardiology") used to find the doctor to Facebook. If th e hospital's website

22   has a drop-down menu to select a medical condition in connection with locating a doctor or

23   making an appointment, that condition is also transmitted to Facebook through Meta Pixel.

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     50   https://www.facebook.com/business/help/742478679120153?id= l205376682832l42
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     51   https://www.facebook.com/business/help/742478679120153?id= l205376682832l42
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27   53 https://themarkup.org/pixel-hunt/2022/06/ 16/facebook-is-receiving-sensitive-medical-information-from-
      hospital-websites
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 1           86.     Facebook has designed the Meta Pixel such that Facebook receives infon nation

 2   about patient activities on hospital websites as they occur in real time. Indeed, the moment that

 3   a patient takes any action on a webpage that includes the Meta Pixel- such as clicking a button

 4   to create an appointment-Facebook code embedded on that page redirects the content of the

 5   patient's communications to Facebook while the exchange of inf01mation between the patient

 6   and hospital is still occuning.

 7           87.     Defendant is among the hospital systems who have embedded Meta Pixel on

 8   their websites. When a prospective or actual patient enters their personal info1mation through

 9   Defendant's websites that incorporate Meta Pixel, such as to locate a doctor or make an

10   appointment, this infonnation, including what the patient is being treated for, is immediately

11   and instantaneously transmitted to Facebook via the Meta Pixel. The acquisition and disclosure

12   of these communications occurs contemporan eously with the transmission of these

13   communications by patients.

14           88.     This data, which can include health conditions (e.g. , addiction, heaii disease,

15   cancer), diagnoses, procedures, test results, the treating physician, medications, and other

16   personally identifying info1mation ("Personal Health Info1mation"), is obtained and used by

17   Facebook, as well as other paii ies, for the pmpose of targeted adve1i ising.

18           89.     For example, a visitor seai·ching for a doctor on Defendant's website is asked

19   to provide a variety of info1mation to filter the vai·ious physicians available to treat vai·ious

20   medical conditions, including such infon nation as the doctor 's specialty, the patient's medical

21   condition, the patient's location, the patient's gender and language preferences, and other

22   infon nation that the patient provides:

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            90.     All the data about patients ' interactions with Defendant's website is disclosed
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     to Facebook simultaneously in real time as visitors transmit their info1mation, such as the
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     doctor they choose for treatment, the doctor's specialty, the patient's location, and the
14
     patient's language and gender preferences. Along with other data, Defendant also discloses
15
     patients ' unique Face book IDs, which are captured by the c_ user cookie, which allows
16
     Facebook to link this infonnation to patients ' unique Facebook accounts. Defendant also
17
     discloses other personally identifying info1mation to Facebook, such as patient and user IP
18
     addresses, cookie identifiers, browser-finge1prints, and device identifiers.
19
            91.     Likewise, Defendant allows patients to search for info1mation about
20
     "Specialties & Services" such as "Can cer," "Hea11 & Vascular," "Oiihopedics, and "Women 's
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     Health." A patient searching for info1mation about cancer treatment or pregnancy, however,
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     not only shares their personal data with Defendant but also unknowingly shares their personal
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     data with Facebook such as the fact that they are suffering from a brain tumor:
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            92.     Defendant discloses such personally identifying infonnation an d sensitive
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     medical info1m ation even when patients or users are searching for doctors to assist them with
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     conditions such as substance abuse and HIV:
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            93.     As the above demonsti·ates, knowing w hat info1mation a patient is reviewing
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     on Defendant's website can reveal deeply personal and private infonnation . For example, a
15
     simple search for "pregnant" on Defendant's website tells Facebook that the patient is likely
16
     pregnant. Indeed, F acebook might know that the patient is pregnant before the patient's close
17
     family and friends. Likewise, most patients would not want it m ade public that they were
18
     seeking treatment for substance abuse. But there is nothing visible on Defendant's website
19
     that would indicate to patients that, when they use Defendant's search function, their
20
     personally identifiable data and the precise content of their communications with Defendant
21
     ar e being automatically ti·ansmitted to Facebook for adve1i ising purposes-even w hen
22
     patients search for treatinent options for sensitive medical conditions such as cancer or
23
     substance abuse.
24
            94.     Defendant also discloses prospective and actual patient info1mation from other
25
     sections of its website including (but not limited to) communications that are captured by the
26
     website's search bar, communications that are captured when a patient searches for classes
27

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 1   and services offered by Defendant, and communications made when patients are resear ching

 2   specific medical conditions, and communications that patients exchange when making

 3   appointments. The info1mation that Facebook receives from Defendant includes a full-string,

 4   detailed URL, which contains such info1mation as the name of the website, the pages patients

 5   are viewing, and search te1ms that patients have entered. Along with patients'

 6   communications, Defendant's website also causes the transmission of personally identifying

 7   data to Facebook, including patients ' IP addresses, cookie identifiers, browser fingerprints,

 8   and device identifiers.

 9           95.     By compelling visitors to their websites to disclose personally identifying data

10   and sensitive medical infonnation to Facebook, Defendant knowingly disclose info1mation

11   that allows Facebook and other adve1iisers to link patients' and visitors' Personal Health

12   Info1mation to their private identities and target them with adve1iising (or do whatever else

13   Facebook may choose to do with this data, including rnnning "experiments" on its customers

14   by manipulating the info1mation they are shown on their Facebook pages). 54 Defendant

15   intentionally shares the Personal Health Info1mation of its patients with Facebook in order to

16   gain access to the benefits of the Meta Pixel tool.

17           96.     For example, Plaintiff Jane Doe is an individual with a Facebook account who

18   has also been a patient at Hoag Hospital Newpo1i Beach . Plaintiff Jane Doe visited

19   Defendant's website at www.hoag.org as recently as December 2022 to search for info1mation

20   related to her medical treatment. Plaintiff entered data, including sensitive medical

21   info1mation, such as details about her medical condition and search for a doctor. The

22   info1mation that Plaintiff Jane Doe transmitted included queries about treatment for a brain

23   anemysm. Plaintiff Jane Doe also researched Defendant's website for info1mation regarding

24   popliteal arte1y entrapment, an uncommon condition in which an abno1mally positioned or

25   enlarged calf muscle presses on the main aiie1y behind the knee.

26
     54
           https://www.theatlantic.com/technology/archive/2014/06/eve1ything-we-know-about-facebooks-secret-mood-
27   manipulation-experiment/373648/

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 1              97.       Defendant knew that by embedding Meta Pixel-a Facebook adve11ising

 2   tool-it was pennitting Facebook to collect, use, and share Plaintiffs and the Class Members '

 3   Personal Health Info1mation, including sensitive medical info1mation and personally

 4   identifying data. Defendant was also aware that such info1mation would be shared with

 5   Facebook simultaneously with patients' interactions with its websites. Defendant made the

 6   decision to baiier its patients' Personal Healthcai·e Infonnation to Facebook because it wanted

 7   access to the Meta Pixel tool. While that bargain may have benefited Defendant and Facebook,

 8   it also betrayed the privacy rights of Plaintiff and Class Members.

 9   G. Plaintiff and the Class Members did not consent to the interception and disclosure
        of their protected health information.
10
                98.       Plaintiff and Class Members had no idea when they interacted with
11
     Defendant's websites that their personal data, including sensitive medical data, was being
12
     collected and simultaneously transmitted to Facebook. That is because, among other things,
13
     the Meta Pixel tool is seamlessly and secretly integrated into Defendant's websites and is
14
     invisible to patients visiting those websites.
15
                99.       For example, when Plaintiff Jane Doe visited Defendant's website at
16
     https://www.hoag.org, there was no indication that Meta Pixel was embedded on that website
17
     or that it would collect and transmit her sensitive medical data to Facebook.
18
                 100.     Plaintiff and fellow Class Members could not consent to Defendant's conduct
19
     when there was no indication that their sensitive medical info1mation would be collected and
20
     transmitted to Facebook in the first place.
21
                 101.     While Defendant purpo11s to have a "Privacy Notice," that Privacy Notice is
22
     effectively hidden from patients, concealed within a link entitled "Patient & Visitor Info" at
23
     the bottom of Defendant's homepage in type so small as to be unreadable to many visitors: 55
24
25

26

27
     55   https://wv.rw.hoag.org/
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 9               102.        Locating Defendant's privacy policy requires a visitor to click through multiple

     links, until the visitor locates a download for a document entitled "Patient Infonnation." 56
11               103.        Even if a visitor stumbled upon Defendant's carefully hidden " Privacy
12   Notice," nothing in that notice would be understood by any reasonable prospective or cmTent
13   patient to mean that Defendant is baitering its patients ' Personal Health Infonnation in return
14   for access to Facebook's Meta Pixel tool. Indeed, Defendant expressly promises that it will
15   not sell or othe1wise provide the infonnation it collects to outside third pa1ties. Accordingly,
16   Patients visiting Defendant's website likely feel assured that their communications about
17   medical conditions such as addiction, cancer, and pregnancy will remain private, not realizing
18   that Defendant has ah-eady transmitted this private info1mation to Facebook, so that Facebook
19   can monetize this info1mation by sending targeted content and adve1tisements to patients.
20               104.        Moreover, Defendant's " Website Privacy Notice" gives no indication to
21   patients that Defendant routinely allows Facebook to capture and exploit patients' and users'
22   Personal Health Info1mation . For example, Defendant's notice of " Patient Rights" assures
23   patients and prospective patients that they are entitled to " [c]onfidential treatment of all
24   communications and records pe1taining to your cai·e and stay in the hospital." 57 Likewise,
25   Defendant's "Notice of Privacy Practices" tells patients that "We understan d that your medical
26
     56   https://www .hoag.org/patients-visitors/patient-visitor-info/patient-rights-privacy-notices/
27
     57
          https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_ PatientlnfoBooklet_1022_ 4b.pdf
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 1   infonnation is personal" and that Hoag is required to "[k]eep your m edical info1mation

 2   private." 58 Defendant also promises patients and prospective patients that it will never disclose

 3   their medical info1mation "for marketing purposes" or make "disclosures that constitute the

 4   sale of your medical info1mation" without patients' written authorization :59

 5
                                Other Uses or Disclosures of
 6                              Medical Information
 7                              In any other situation not covered by this Notice, we w ill
                                ask for your written authorization before using or disclosing
 8                              your medical information. Specific examples of uses and
                                disclosures requiring your authorization include: (i) most uses
 9                              and disclosures of psychotherapy notes (private notes of a
                                mental health professional kept separately from a medical
                                record); (ii) subject to limited exceptions, uses and disclosures
                                of your medical information for marketing purposes; and (iii)
11                              disclosures that constitute the sale of your medical information.
                                If you authorize us to use or disclose your medical information,
12                              you can later revoke that authorization by notifying us in writing
                                of your decision, except to the extent that we have taken action
13
                                in reliance on your authorization.
14
                105.     All of these statements are false and misleading because Defendant in fact
15
     discloses patients ' Personal Health Infonnation to Facebook so that Facebook can solicit
16
     patients with adve1tising.
17
                106.     Defendant does not have a legal right to share Plaintiff's and Class Members '
18
     Protected Health Info1mation with Facebook, because this info1mation is protected from such
19
     disclosure by law. See, e.g., CAL. CIV. CODE §§ 56 et seq. ; 45 C.F.R. § 164.508. Nor is
20
     Defendant pennitted to disclose patients ' Protected Health Info1mation to an adve1tising and
21
     marketing company like Facebook without express written authorization from patients.
22
                107.     Defendant failed to obtain a valid written authorization from Plaintiff or any
23
     of the Class Members to allow the capture and exploitation of their personally identifiable
24
     infonnation and the contents of their communications by third pait ies for their own direct
25

26
     58   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_ PatientlnfoBooklet_1022_ 4b.pdf
27
     59   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_ PatientlnfoBooklet_1022_ 4b.pdf
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 1   marketing uses. Moreover, no additional privacy breach by Facebook is necessaiy for haim to

 2   have accrned to Plaintiff and Class Members; the secret disclosure by Defendant of its patients'

 3   Personal Health Infonnation to Facebook means that a significant privacy injmy has already

 4   occurred.

 5            108.   Likewise, a prospective or current patient 's reasonable expectation th at their

 6   health care provider will not shai·e their infonnation with third paiiies for mai·keting pmposes

 7   is not subject to waiver via an inconspicuous privacy policy hidden away on a company's

 8   website. Such "Browser-Wrap" statements do not create an enforceable contract against

 9   consumers. Further, Defendant expressly promised that it would not sell, rent, license, or trade

10   their personally identifiable info1mation for marketing pmposes without express authorization.

11            109.   Neither Plaintiff nor Class Members knowingly consented to Defendant's

12   disclosure of their Personal Health Info1mation to Facebook. Nowhere in Defendant's privacy

13   policy is it disclosed that Defendant routinely transmits patients' Personal Health Info1m ation

14   to third paiiy adve11ising companies like Facebook so that those companies can monetize and

15   exploit patients ' health data. Without disclosing such practices, Defendant cannot have secured

16   consent from Plaintiff and Class Members for th e disclosure of their Personal Health

17   Info1mation to Facebook and other third-paiiy adve11ising companies.

18            110.   Accordingly, Defendant lacked authorization to intercept, collect, and disclose

19   Plaintiff's and Class Members ' Personal Health Info1mation to Facebook or aid in th e same.

20    H. The disclosures of personal patient data to Facebook are unnecessary.

21            111.   There is no info1mation anywhere on the websites operated by Defendant that

22    would ale11 patients that their most private info1mation (such as their identifiers, th eir medical

23    conditions, and their medical providers) is being automatically transmitted to Facebook. Nor

24    ai·e the disclosures of patient Personal Health Info1mation to Facebook necessa1y for

25    Defendant to maintain their healthcai·e website or provide medical services to patients .

26            112.   For exainple, it is possible for a health care website to provide a doctor seai·ch

27    function without allowing disclosures to third-paiiy adveliising companies about patient sign

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 1   ups or appointments. It is also possible for a website developer to utilize tracking tools without

 2   allowing disclosure of patients ' Personal Healthcar e Info1mation to companies like Facebook.

 3   Likewise, it is possible for Defendant to provide medical services to patients without sharing

 4   their Personal Health Info1mation with Facebook so that this infonnation can be exploited for

 5   adve1tising pmposes.

 6           113.   Despite these possibilities, Defendant willfully chose to implement Meta Pixel

 7   on its websites and aid in the disclosure of personally identifiable infonnation and sensitive

 8   medical information about its patients, as well as the contents of their communications with

 9   Defendant, to third parties, including Facebook.

10   I. Plaintiff and Class Members have a reasonable expectation of privacy in their
        Personal Health Information, especially with respect to sensitive medical
11      information.

12           114.   Plaintiff and Class Members have a reasonable expectation of privacy in their

13   Personal Health Infonnation, including personally identifying data and sensitive medical

14   info1mation. Defendant's smTeptitious interception, collection, and disclosure of Personal

15   Health Info1mation to Facebook violated Plaintiff and Class Member's privacy interests.

16           115.   Patient health infonnation is specifically protected by law. The prohibitions

17   against disclosing patient Personal Health Info1mation include prohibitions against disclosing

18   personally identifying data such as patient names, IP addresses, and other unique

19   characteristics or codes. See, e.g. , CAL. Crv. CODE§ 56.05 ("medical info1mation"); 45 C.F.R.

20    § 164.514.

21           116.   Given the application of these laws to Defendant, coupled with Defendant's

22   express promises that they would protect the confidentiality of patients ' Personal Health

23   Info1mation, Plaintiff and the Members of the Class had a reasonable expectation of privacy

24   in their protected health info1mation.

25           117.   Several studies examining the collection and disclosure of consumers '

26   sensitive medical info1mation confinn that the disclosure of sensitive medical info1mation

27   violates expectations of privacy that have been established as general social no1ms.

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 1               118.     Polls and studies also uniform ly show that th e ove1w helming m ajority of

 2   Americans consider one of the m ost impo1tant privacy rights to be the need for an individual's

 3   affnmative consent before a company collects and shares its customers ' data.

 4               119.     For example, a recent study by Consumer Reports showed that 92% of

 5   Americans believe that internet companies and websites should be required to obtain consent

 6   before selling or sharing consumers ' data, and the same percentage believed that internet

 7   companies and websites should be required to provide consumers with a complete list of the

 8   data that has been collected about them .60

 9               120.     Users act consistently with these preferences. For example, following a new

10   rollout of the iPhone operating software-which asks users for clear, affiimative consent

11   before allowing companies to track users- 85 percent of worldwide users and 94 percent of

12   U.S. users chose not to share data when prompted. 61

13               121.     " Patients are highly sensitive to disclosure of their health info1mation,"

14   paiticularly because it "often involves intimate and personal facts, with a heavy emotional

15   overlay." Peter A. Winn, Confidentiality in Cyberspace: The HIPAA Privacy Rules and the

16    Common Law, 33             RUTGERS      L.J. 617, 621 (2002). Unsurprisingly, empirical evidence

17   dem onstrates that " [w]hen asked, the ove1whelming majority of Americans express concern

18   about th e privacy of their m edical records ." Shai·ona Hoffman & Andy Podgurski, E-Health

19   Hazards: Provider Liability and Electronic Health Record Systems, 24              B ERKLEY TECH L.J.

20    1523, 1557 (2009).

21               122.     The concern about shai·ing personal m edical info1mation is compounded by the

22   reality th at adve1tisers view this type of infon nation as paiticulai·ly valuable. Indeed, having

23   access to the data women share with their healthcai·e providers allows adve1tisers to obtain

24   data on children before they ai·e even born. As one recent aiticle noted, "What is paiticulai·ly

25

26   60https://www.consumerrepo1ts.org/consumer-repo11s/consumers-less-confident-about-healthcare-data-
     privacy-and-car-safety-a39804 96907/
27
     61   https://wv.rw.wired.co.uk/article/apple-iosl 4-facebook
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 1   wony ing about this process of datafication of children is that companies like [Facebook] are

 2   harnessing and collecting multiple typologies of children 's data and have th e potential to store

 3   a plurality of data trnces under unique ID profiles. " 62

 4              123.     Many privacy law experts have expressed serious concerns about patients'

 5   sensitive medical info1mation being disclosed to third-party companies like Facebook. As

 6   th ose critics have pointed out, having a patient's Personal Health Infonnation disseminated in

 7   ways the patient is unaware of could have serious repercussions, including affecting their

 8   ability to obtain life insurance, how much th ey might pay for such coverage, the rates they

 9   might be charged on loans, an d the likelihood of their being discriminated against.

10              124.     Plaintiffs Personal Health Info1mation that Defendant collected, monitored,

11   disclosed, and used is Plaintiffs property, it has economic value, and its illicit disclosure has

12   caused Plaintiff han n.

13              125.     It is common knowledge that there is an economic m arket for consumers'

14   personal data- including the kind of data that Defendant has collected and disclosed from

15   Plaintiff and Class Members.

16              126.     In 2013, the Financial Times repo1ied that the data-broker industry profits from

17   th e ti·ade of thousan ds of details about individuals and th at within that context, "age, gender

18   and location info1mation" were being sold for approximately "$0.50 per 1,000 people." 63

19              127.     In 2015 , TechCrunch repo1ied that "to obtain a list containing the names of

20   individuals suffering from a paiiicular disease," a m ai·ket paiticipant would have to spend

21   about "$0.30" per name. 64 That same aiiicle noted that "Data has become a strategic asset that

22   allows companies to acquire or maintain a competitive edge" and that th e value of a single

23   user's data can vaiy from $15 to more than $40 per user. 65

24

25   62   https://thereader mitpress.mit.edu/tech-companies-are-profiling-us-from-before-birth/
26   63   https://ig ft.com/how-much-is-your-personal-data-wo1ih/
     64   https://techcrnnch.com/2015/ 10/ 13/whats-the-value-of-your-data/
27
     65   https://techcrnnch.com/2015/ 10/ 13/whats-the-value-of-your-data/
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 1              128.     fu a 2021 Washington Post aiticle, the legal scholai· Dina Srinivasan said that

 2   consumers "should think of Facebook's cost as [their] data an d scm tinize the power it has to

 3   set its own price."66 This price is only increasing. According to Facebook 's own financial

 4   statements, the value of the average American's data in adveitising sales rose from $19 to

 5   $164 per yeai· between 2013 and 2020. 67

 6              129.     Despite the protections afforded by law, there is an active m arket for health

 7   infonnation . Medical info1mation obtained from health providers gam ers substantial value

 8   because of the fact that it is not generally available to third party data marketing companies

 9   because of th e strict restrictions on disclosure of such infonnation by state laws and provider

     standai·ds, including the Hippocratic oath . Even with these restrictions, however, a multi-

11   billion-dollai· m arket exists for the sale an d purchase of such private medical infonnation. 68

12              130.     Fmt her, individuals can sell or monetize their own data if they so choose. For

13   example, Facebook has offered to pay individuals for th eir voice recordings, 69 and it has paid

14   teenagers and adults up to $20 per month plus refe1rnl fees to install an app that allows

15   Facebook to collect data on how individuals use their sm ait phones. 70

16              131.     A myriad of other companies and apps such as DataCoup, Nielsen Computer,

17   Killi, and Up Voice also offer consumers money in exchange for access to their personal data. 71

18              132.     fudeed, as recently as Januaiy 6, 2023, Defendant itself was offering to pay

19   patients who had used its "Find A Doctor" function $60 each for infonnation regai·ding their

20   experiences using Defendant 's website:

21

22   66   https://www.washingtonpost.com/technology/2021/08/29/facebook-privacy-monopoly/
     67
23        https://www.washingtonpost.com/technology/2021/08/29/facebook-privacy-monopoly/
     68 https://revealnews.org/blog/your-medical-data-is-for-sale-and-theres-nothing-you-can-do-about-it/; see also
24
     https://slate.com/technology/2022/06/health-data-brokers-pl'ivacy .html
25   69https://www.theverge.com/2020/2/20/21145 584/facebook-pay-record-voice-speech-recognition-viewpoints-
     proununciations-app
26   70   https://wv.rw .cnbc.com/2019/01/29/facebook-paying-users-to-install-app-to-collect-data-techcmnch.html
27   71 https://wv.rw.creditdonkey.com/best-apps-data-collection html; see also
     https:/AV1111v.monetha.io/blog/re1vards/earn-money -from -y our-data/
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 4                             Help Us Improve Our Experience ($60
                               Incentive)
 5
                               Hoag ,s seeking research participants Who are open
 6                             and willing to speak with us about Hoag Find A
                               Doctor experience. This is incentivized by a third
 7                             party research partner. We need participants who are
                               Hoag patients to take part in a 30-minute virtual (via
 8                             Teams) interview. In return for your participation, you
                               will have the option to receive $60 or you can make a
 9                             full/partial donation to a selection of charities.
                               In order to be considered for this study, please
10                             answer a few questions for us (should only take <3
                               minutes). All infomiation given will remain
11
                               confidential.
12

13                                  Continue

14
            13 3.   Given the monetaiy value that data companies like Facebook have ah-eady paid
15
     for personal infon nation in the past, Defendant has deprived Plaintiff and the Class Members
16
     of th e economic value of th eir sensitive m edical infon nation by collecting, using, and
17
     disclosing that info1mation to Facebook without consideration for Plaintiff and the Class
18
     Members' prope11y.
19
     J. Defendant is enriched by making unlawful, unauthorized, and unnecessary
20
        disclosures of patients' and users' protected health information.
21
            134.    fu exchange for disclosing Personal Health fufo1mation about its patients and
22
     users, Defendant is compensated by Facebook with enhanced online adve11ising services,
23
     including (but not limited to) retai·geting and enhanced analytics functions.
24          135.    Retai·geting is a fo1m of online tai·geted advertising that tai·gets users with ads
25
     based on their previous internet actions, which is facilitated through the use of cookies and
26
     tracking pixels. Once an individual's data is disclosed and shai·ed with a third-paiiy marketing
27
     company, the adve11iser is able to show ads to the user elsewhere on th e internet.
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 1           136.    For example, retar geting could allow a web-developer to show advertisements

 2   on other websites to customers or potential customers based on the specific communications

 3   exchanged by a patient or their activities on a website. Using the Meta Pixel, a website could

 4   target ads on Facebook itself or on the Facebook adve1tising network. The same or similar

 5   adve1tising can be accomplished via disclosures to oth er third-paiiy adve1tisers and marketers.

 6           13 7.   Once personally identifiable info1mation relating to patient communications is

 7   disclosed to third paities like Facebook, Defendant loses the ability to control how that

 8   info1mation is subsequently disseminated and exploited.

 9           138.    The monetization of the data being disclosed by Defendant, both by Defendant

10   and Facebook, demonstrates the inherent value of the infonnation being collected.

11   K. Facebook's History of Egregious Privacy Violations

12           139.    Defendant knew or should have known that Facebook could not be t:Iusted with

13   its patients' sensitive medical infonnation.

14           140.    Due to its ability to tai·get individuals based on granular data, Facebook's ad-

15   tai·geting capabilities have frequently come under scmtiny. For example, in June 2022,

16   Facebook entered into a settlement with the Depaiiment of Justice regai·ding its Lookalike Ad

17   service, which pennitted tai·geted adve1tising by landlords based on race and oth er

18   demographics in a discriminato1y m anner. That settlement, however, reflected only the latest

19   in a long histo1y of egregious privacy violations by Facebook.

20           141.    fu 2007, when Facebook launched "Facebook Beacon," users were unaware

21   that their online activity was ti·acked, and that the privacy settings originally did not allow

22   users to opt-out. As a result of widespread criticism , Facebook Beacon was eventually shut

23   down.

24           142.    Two years later, Facebook made modifications to its Tenns of Service, which

25   allowed Facebook to use anything a user uploaded to its site for any purpose, at any time, even

26   after the user ceased using Facebook. The Tenns of Service also failed to provide for any way

27

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 1   for users to completely delete their accounts. Under immense public pressure, Facebook

 2   eventually returned to its prior Tenns of Service.

 3              143.     ill 2011 , Facebook settled charges with the Federal Trade Commission relating

 4   to its sharing of Facebook user infonnation with adve1tisers, as well as its false claim that

 5   third-paity apps were able to access only the data they needed to operate when-in fact-the

 6   apps could access neai·ly all of a Facebook user's personal data. The resulting Consent Order

 7   prohibited Facebook from misrepresenting the extent to which consumers can control the

 8   privacy of their inf01mation, the steps that consumers must take to implement such controls,

 9   and the extent to which Facebook makes user infonnation available to third pa1ties.72

10              144.     Facebook found itself in another privacy scandal in 2015 when it was revealed

11   that Facebook could not keep track of how many developers were using previously

12   downloaded Facebook user data. That same year, it was also revealed that Facebook had

13   violated users ' privacy rights by haivesting and storing Illinois' users ' facial data from photos

14   with out asking for their consent or providing notice. Facebook ultimately settled claims

15   related to this unlawful act for $650 million.

16              145.     ill 2018, Facebook was again in the spotlight for failing to protect users '

17   privacy. Facebook representatives testified before Congress that a company called Cambridge

18   Analytica may have harvested the data of up to 87 million users in connection with the 2016

19   election. This led to another FTC investigation in 2019 into Facebook's data collection and

20   privacy practices, resulting in a record-breaking five-billion-dollai· settlement.

21              146.     Likewise, a different 2018 repo1t revealed that Facebook had violated users '

22   privacy by granting access to user info1mation to over 150 companies. 73 Some companies

23   were even able to read users ' private messages.

24

25

26   72
      https://wv.rw .ftc .gov/legal-library/browse/cases-proceedings/092-3184- 182-3 l 09-c-4365-facebook-inc-
     matter
27
     73   https://wv.rw .cnbc.com/2018/ 12/ 19/facebook-gave-amazon-microsoft-netflix-special-access-to-data-nyt html
28
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 1              147.     ill June 2020, after promising users that app developers would not have access

 2   to data if users were not active in the prior 90 days, Facebook revealed that it still enabled

 3   third-paiiy developers to access this data. 74 This failure to protect users ' data enabled

 4   thousands of developers to see data on inactive users' accounts if those users were Facebook

 5   friends with someone who was an active user.

 6              148.     On Febma1y 18, 2021 , the New York State Depaiiment of Financial Services

 7   released a report detailing the significant privacy concerns associated with Facebook 's data

 8   collection practices, including the collection of health data. The repo1i noted that while

 9   Facebook maintained a policy that instm cted developers not to transmit sensitive medical

10   infonnation, Facebook received, stored, and analyzed this infonnation anyway. The repo1i

11   concluded that " [t]he info1mation provided by Facebook has made it cleai· that Facebook's

12   internal controls on this issue have been ve1y limited and were not effective ... at preventing

13   the receipt of sensitive data ." 75

14              149.     The New York State Depaiiment of Financial Service 's concern about

15   Facebook's cavalier treatment of private medical data was not misplaced. ill June 2022, the

16   FTC finalized a different settlement involving Facebook 's monetizing of sensitive medical

17   data. ill that case, the more than 100 million users of Flo, a period and ovulation tracking app,

18   learned something staiiling: the company was shaiing their data with Facebook. 76 When a

19   user was having her period or infonned the app of her intention to get pregnant, Flo would tell

20   Facebook, which could then use the data for all kinds of activities including tai·geted

21   adve1iising . ill 2021, Flo settled with the Federal Trade Commission for lying to its users

22   about secretly shai·ing their data with Facebook, as well as with a host of other internet

23

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     74
26        https://fortune. com/2020/07/0 1/facebook-user-data-apps-blunder/
     75   https://www .dfs.ny.gov/system/files/documents/2021/02/facebook_repo1i_20210218.pdf
27
     76   https://slate.com/technology/2022/06/health-data-brokers-privacy.html
28
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 1   adve1tisers, including Google, Fabric, AppsFlyer, and Fluny . The FTC repo1ted that Flo "took

 2   no action to limit what these companies could do with users ' infonnation." 77

 3              150.     More recently, Facebook employees admitted to lax protections for sensitive

 4   user data. Facebook engineers on the ad business product team conceded in a 2021 privacy

 5   review that "We do not have an adequate level of control and explainability over how our

 6   systems use data, and thus we can 't confidently make controlled policy changes or external

 7   commitments such as 'we will not use X data for Ypmpose." 78

 8              151.     These revelations were confirmed by an article published by the Markup in

 9   2022, which found during the course of its investigation that Facebook 's pmported "filte1ing"

     failed to discard even the most obvious fonns of sexual health infonnation. Worse, the a1ticle

11   found that the data that the Meta Pixel was sending Facebook from hospital websites not only

12   included details such as patients ' medications, descriptions of their allergic reactions, details

13   about their upcoming doctor's appointments, but also included patients ' names, addresses,

14   email addresses, and phone numbers. 79

15              152.     Despite knowing that the Meta Pixel code embedded in its websites was

16   sending patients' Personal Health Infonnation to Facebook, Defendant did nothing to protect

17   patients and users from egregious intrusions into patient privacy, choosing instead to benefit

18   at those patients' and users' expense.

19              153.     Despite knowing that the Meta Pixel code embedded in its websites was

20   sending patients' Personal Health Infonnation to Facebook, Defendants did nothing to protect

21   patients and users from egregious intrusions into patient privacy, choosing instead to benefit

22   at those patients' and users' expense.

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25        https://slate.com/technology/2022/06/health-data-brokers-privacy.html
     78https://www.vice.com/en/article/akvmke/facebook-doesnt-know-what-it-does-with-your-data-or-where-it-
26
     goes
27   79https://themarkup.org/pixel-hunt/2022/06/ 16/facebook-is-receiving-sensitive-medical-information-from-
     hospital-websites
28
     CASE NO.                                            - 37 -

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 1   L. Defendant's failure to inform its patients and prospective patients that their Personal
        Health Information has been disclosed to Facebook or to take any steps to halt the
 2      continued disclosure of patients' Personal Health Information is malicious,
        oppressive, and in reckless disregard of Plaintiffs' and Class Members' rights.
 3
             154.     Hospital systems, like other businesses, have a legal obligation to disclose data
 4
     breaches to their custom ers . See, e.g., CAL. Crv. CODE§ 1798 .82.
 5
             155.     After publication of the Markup's investigative article in June 2022, hospital
 6
     systems around th e United States began self-repo1i ing data breaches arising from their
 7
     installation of pixel technology on their websites. 80
 8
             156.     For example, in August 2022, Novant Health info1med approximately 1.3
 9
     million patients that their medical data was disclosed to Facebook due to the installation of

     th e Facebook Meta Pixel on the hospital system 's websites.81 Novant Health 's data breach
11
     announcement conceded that the Meta Pixel tool installed on its websites "allowed certain
12
     private infon nation to be transmitted to Meta from the Novant Health website." 82 Novant
13
     Health fmi her admitted that th e infonnation about its patients that was disclosed to Facebook
14
     included "an impacted patient's: demographic info1mation such as email address, phone
15
     number, computer IP address, and contact information entered into Em ergency Conta.c ts or
16
     Advanced Care Planning; and infon nation such as appointment type and date, physician
17
     selected, button/m enu selections, and/or content typed into free text boxes." 83
18
             157.     Likewise, in October 2022, Advocate Aurora Health infon ned approximately
19
     3 million patients that their Personal Health Infonnation had been disclosed to Facebook via
20
     th e Meta Pixel installed on Advocate Aurora Health 's website.84 Advocate Aurora Health 's
21

22   80https://www.scmagazine.com/analysis/breach/pixel-fallout-expands-community-health-informs-l -5m-of-
     unauthorized-disclosure
23   81https://www.scmagazine.com/analysis/breach/l-3m-novant-health-patients-notified-of-unintended-
     disclosure-via-facebook-pixel
24
     82https://www.novanthealth.org/home/about-us/newsroom/press-releases/newsid33987/2672/novant-health-
25   notifies-patients-of-potential-data-privacy-incident-. aspx
     83https://www.novanthealth.org/home/about-us/newsroom/press-releases/newsid33987/2672/novant-health-
26
     notifies-patients-of-potential-data-privacy-incident-. aspx
27   84https://www.fiercehealthcare.c01n/health-tech/advocate-aurora-health-data-breach-revealed-pixels-protected-
     health-infonnation-3
28
     CASE NO.                                         - 38 -

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 1   data breach notification conceded that patient info1m ation had been transmitted to third paities

 2   including Facebook and Google when patients used the hospital system 's website. 85

 3              158.     Advocate Aurora Health fmther admitted that a substantial amount of its

 4   patients ' Personal Health illfo1m ation has been shai·ed with Facebook and Google including

 5   patients ' "IP address; dates, times, and/or locations of scheduled appointments; your

 6   proximity to an Advocate Aurora Health location ; info1mation about your provider; [and] type

 7   of appointment or procedure. " 86 Even more troubling, Advocate Aurora Health admitted that

 8   " [w]e cannot confinn how vendors used the data they collected." 87

 9              159.     ill conjunction with its data breach notice, Advocate Aurora Health claimed

     th at the hospital system had "disabled and/or removed the pixels from our platfo1ms and

11   launched an internal investigation to better understan d what patient info1mation was

12   transmitted to our vendors." 88 Advocate Aurora Health also promised its 3 million patients

13   th at the company had instituted an "enhanced, robust technology vetting process" to prevent

14   such disclosures of patients ' Personal Health illfon nation in the future. 89

15              160.      Similai·ly, in October 2022, W akeMed notified more than 495,000 patients that

16   th eir Personal Health illfon nation had been transmitted to Facebook through the use of

17   tracking pixels installed on its websites. 90 ill announcing this data breach, WakeMed admitted

18   th at the Facebook Meta Pixel tool had been installed on its website resulting in the

19   transmission of patient infon nation.91 WakeMed fru·ther admitted that " [d]epending on the

20   user's activity, the data that may have been transmitted to Facebook could have included

21   info1mation such as: email address, phone number, and oth er contact info1mation; computer

22
     85   https://wv.rw.advocateaurorahealth.org/
23   86   https://wv.rw.advocateaurorahealth.org/pixel-notification/faq
     87
24        https://wv.rw.advocateaurorahealth.org/pixel-notification/faq
     88   https://wv.rw.advocateaurorahealth.org/pixel-notification/faq
25
     89   https://wv.rw.advocateaurorahealth.org/pixel-notification/faq
26   90
          https://healthitsecurity.corn/news/wakemed-faces-data-breach-lawsuit-over-meta-pixel-use
27   91https://wv.rw.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
     potential-data-privacy-incident
28
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 1   IP address; emergency contact infonnation; infonnation provided during online check-in,

 2   such as allergy or medication infon nation; COVID vaccine status; an d infonnation about an

 3   upcoming appointment, such as appointment type an d date, physician selected, and

 4   button/menu selections."92 WakeMed also conceded that it had no idea what Facebook had

 5   done with the Personal Health Information that Wak eMed had disclosed about its patients. 93

 6   Like the other hospital systems who have come clean about their use of th e Meta Pixel tool,

 7   WakeMed promised its patients that it had "proactively disabled Facebook's pixel" and had

 8   "no plans to use it in the future without confinnation that the pixel no longer has th e capacity

 9   to transmit potentially sensitive or identifiable infon nation." 94

                161.    In November 2022, the fallout from hospital systems ' use of the Meta Pixel

11   tool expanded when Community Health Network infon ned 1.5 million of its patients that th eir

12   Personal Health Info1mation had been routinely transmitted an d disclosed to Facebook since

13   at least April 2017. 95

14              162.    In its data breach notice, Community Health info1m ed patients th at "third-party

15   tracking technologies were installed on Community's website." 96 Community Health further

16   admitted that it had "discovered through our investigation that the configuration of ce1iain

17   technologies allowed for a broader scope of infon nation to be collected and transmitted to

18   each coITesponding third-paiiy tracking technology vendor (e.g. , Facebook and Google) th an

19   Community had ever intended." Community Health also conceded th at its use of the Meta

20   Pixel and related third-party tracking technologies had resulted in smTeptitiously recording

21

22
     92https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
23   potential-data-privacy-incident
     93https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
24   potential-data-privacy-incident
     94
25     https://www.wakemed.org/about-us/news-and-media/wakemed-news-releases/wakemed-notifies-patients-of-
     potential-data-privacy-incident
26   95https://healthitsecurity.com/news/community-health-network-notifies-l.5m-of-data-breach-stemming-from-
     tracking-tech; see also https://www.ecommunity.com/notice-third-party-tracking-technology-data-breach
27
     96   https://www.ecommunity.com/notice-third-party-tracking-technology-data-breach
28
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 1   and trnnsmitting a wide range of patient engagements with its websites, including "seeking

 2   treatment at a Community or affiliated provider location." 97

 3              163.    Community Health-like WakeMed, Novant, and Advocate Aurora Health-

 4   also promised its patients that it had disabled or removed the third-paiiy tracking technologies

 5   that it had installed on its website and had instituted new "evaluation and management

 6   processes for all website technologies moving fo1ward. " 98 Community Health, however, also

 7   conceded that it had no idea how Facebook or other third paities had exploited the patient

 8   Personal Health Infonnation that had been disclosed to them via the pixel technology.

 9              164.    Unlike Community Health, WakeMed, Novant, Advocate Aurora Health, and

10   oth er responsible hospital systems who have info1med their patients of the serious privacy

11   violations resulting from the installation of Facebook's Meta Pixel tool on their websites,

12   Defendant has done nothing. Indeed, not only has Defendant hidden these privacy violations

13   from its patients, but Defendant continues to collect, transmit, and disclose its patients '

14   Personal Health Info1mation to Facebook despite widespread knowledge in the health care

15   community that such collection and disclosure of patient Personal Health Info1mation is

16   patently illegal and in violation of patients' fundamental privacy rights.

17              165.    As these data breach announcements demonstrate, there 1s widespread

18   knowledge within the health cai·e community that installation of the Meta Pixel tool on

19   hospital websites results in the disclosure of patients' Personal Health Information to

20   Facebook. There is also widespread recognition that such disclosures are not only illegal but

21   fundamentally unethical, given the privacy rights involved.

22              166.    Defendant's decision to hide its use of the Meta Pixel tool from its own patients

23   and its refusal to remove such technologies from its websites even after leaining that its

24   patients ' Personal Health Info1mation was being routinely collected, transmitted, and

25

26
     97
          https://www.ecommunity.com/notice-third-party-tracking-technology-data-breach
27
     98   https://www.ecommunity.com/notice-third-party-tracking-technology-data-breach
28
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 1   exploited by Facebook is malicious, oppressive, an d in reckless disregard of Plaintiffs an d

 2   Class Members' rights.

 3   M. Tolling, Concealment, and Estoppel

 4           167.    The applicable statutes of limitation have been tolled as a result of Defendant's

 5   knowing an d active concealment and denial of the facts alleged herein.

 6           168.    Defendant seamlessly and secretively inc01porated Meta Pixel and other

 7   trackers into its websites, providing no indication to users th at they were interacting with a

 8   website enabled by Meta Pixel. Defendant had knowledge that its websites inco1porated Meta

 9   Pixel and other trackers yet failed to disclose that, by interacting with Meta-Pixel enabled

10   websites, Plaintiff and Class Members ' sensitive medical info1mation would be intercepted,

11   collected, used by, and disclosed to Facebook.

12           169.    Plaintiff and Class Members could not with due diligence have discovered the

13   full scope of Defendant 's conduct, because there were no disclosures or other indication that

14   th ey were interacting with websites employing Meta Pixel.

15           170.    The earliest that Plaintiff and Class Members, acting with due diligence, could

16   have reasonably discovered this conduct would have been on June 15, 2022, following the

17   release of the Markup's investigation.

18           171.    All applicable statutes of limitation have also been tolled by operation of the

19   discove1y rnle and the doctrine of continuing tort. Defendant's illegal interception and

20   disclosure of patients' an d users' Personal Health Info1mation has continued unabated through

21   th e date of the filing of Plaintiffs Original Complaint. What's m ore, Defendant was under a

22   duty to disclose the nature an d significance of their data collection practices but did not do so.

23   Defendant is therefore estopped from relying on any statute of limitations defenses.

24                                      VI. CLASS DEFINIITION

25           172.    Defendant 's conduct violates the law and breaches express and implied privacy

26   prormses.

27           173.    Defendant 's unlawfol conduct has inj ured Plaintiff and Class Members.

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 1          174.    Defendant's conduct is ongoing.

 2          175.    Plaintiff brings this action individually and as a class action against Defendant.

 3          176.    Plaintiff brings this action in accordance with the Code of Civil Procedure Rule

 4   382 individually and on behalf of the following proposed Class and subclass:

 5                  The Hoag Memorial Class: For the period Janua1y 13, 2018, to the
                    present, all California citizens who are, or were, patients or
 6                  prospective patients of Hoag Mem orial or any of its affiliates and
                    who exchanged communications at Defendant's websites, including
 7                  https://www.hoag.org and any other Hoag Mem orial affiliated
                    website.
 8
                    The Patient Subclass: For the period Janua1y 13, 2018, to the
 9                  present, all California citizens who are, or were, patients of Hoag
                    Memorial or any of its affiliates and who exchanged
10                  communications        at     Defendant's     websites,     including
                    https://www.hoag.org/ and any other Hoag Mem orial affiliated
11                  website.

12          177.    Excluded from the Class and Subclass are : (1) any Judge or Magistrate

13   presiding over this action and any m embers of their immediate families or staff; (2) any jurors

14   assigned to hear this case and any members of their immediate families; (3) the Defendant,

15   Defendant's subsidiaries, affiliates, parents, successors, predecessors, and any entity in which

16   the Defendant or its parents have a controlling interest and its cmTent or fo1mer employees,

17   officers, and directors; and (4) Plaintiff's counsel and Defendant 's counsel.

18          178.    Plaintiff and Class Members satisfy the numerosity, commonality, typicality,

19   adequacy, and predominance requirements for suing as representative paities.

20          179.    Numerosity: The exact number of members of the Class is unknown and

21   unavailable to Plaintiff at this time, but individual joinder in this case is impracticable. The

22   Class likely consists of thousands of individuals throughout California. The exact number of

23   Class Members can be dete1mined by review of info1mation m aintained by Defendant. The

24   proposed class is defined objectively in te1ms of asceitainable criteria, such that the Court

25   may detennine the constituency of the class for the pmposes of the conclusiveness of any

26   judgment that may be rendered.

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 1          180.      Predominant Common Questions: The Class's claims present common

 2   questions oflaw and fact, and those questions predominate over any questions that may affect

 3   individual Class members . Common questions for the Class include, but ar e not limited to,

 4   the following:

 5          (a)       Whether Defendant violated Plaintiff's and Class Members ' privacy

 6                    rights;

 7          (b)       Whether Defendant's          acts   and practices violated California's

 8                    Constitution, Alt. 1, § 1;

 9          (c)       Whether Defendant's          acts   and practices violated California's

10                    Confidentiality of Medical Infonnation Act, CIVIL CODE § § 56, et seq.;

11          (d)       Whether Defendant's acts and practices violated the California

12                    Invasion of Privacy Act, CAL. PENAL CODE §§ 630, et seq.;

13          (e)       Whether Defendant's acts and practices violated the California

14                    Comprehensive Computer Data Access and Fraud Act, CAL. PENAL

15                    CODE§ 502;

16          (f)       Whether Defendant's acts and practices violated California's Online

17                    Privacy Protection Act, CAL. Bu s. & PROF. CODE §§ 22575 , et seq;

18          (g)       Whether Defendant's acts and practices violated California's Unfair

19                    Competition Law, CAL. Bus. & PROF. CODE §§ 17200, et seq;

20          (h)       Whether Defendant's acts and practices violated CAL. CIVIL CODE

21                    §§ 1798.81.5, § 1798.81.5;

22          (i)       Whether Defendant's acts and practices violated CAL. CIVIL CODE

23                    § 1798.83;

24          (j)       Whether Defendant was unj ustly emiched;

25          (k)       Whether Plaintiff and the Class Members are entitled to equitable

26                    relief, including, but not limited to, inj unctive relief, restitution, and

27                    disgorgement; and,

28
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 1           (1)    Whether Plaintiff and the Class Members are entitled to actual,

 2                  statuto1y, punitive or other fo1ms of damages, and other monetaiy

 3                  relief.

 4           181.   Typicality: Plaintiffs claims ai·e typical of the claims of the other members of

 5   the Class. The claims of Plaintiff and the members of the Class ai·ise from the same conduct

 6   by Defendant and are based on the same legal theories.

 7           182.   Adequate Representation: Plaintiff has and will continue to fairly and

 8   adequately represent and protect the interests of the Class. Plaintiff has retained counsel

 9   competent and experienced in complex litigation and class actions, including litigations to

10   remedy privacy violations . Plaintiff has no interest that is in conflict with the interests of the

11   Class, and Defendant has no defenses unique to any Plaintiff. Plaintiff and her counsel are

12   committed to vigorously prosecuting this action on behalf of the members of the Class, and

13   they have the resomces to do so. Neither Plaintiff nor her counsel have any interest adverse

14   to the interests of the other members of the Class .

15           183.   Substantial Benefits: This class action is appropriate for certification because

16   class proceedings are superior to other available methods for the fair and efficient adjudication

17   of this controversy and joinder of all members of the Class is impracticable. This proposed

18   class action presents fewer management difficulties than individual litigation and provides the

19   benefits of single adjudication, economies of scale, and comprehensive supervision by a single

20   comi. Class treatment will create economies oftime, effort, and expense and promote unifo1m

21   decision making.

22           184.   Plaintiff rese1ves the right to revise the foregoing class allegations and

23   definitions based on facts leain ed and legal developments following additional investigation,

24   discove1y, or othe1wise.

25

26

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 1                                     VII. CLAIMS FOR RELIEF

 2                         COUNT I-VIOLATION OF THE CALIFORNIA
                          INVASION OF PRIVACY ACT ("CIPA") CAL. PENAL
 3                                    CODE §§ 630, ET SEQ.
 4           185.    Plaintiff re-alleges and inc01porates all preceding paragraphs.
 5           186.    Plaintiff brings this claim on behalf of herself and all members of the Hoag
 6   Memorial Class.
 7           187.    The California Legislature enacted the California Invasion of Privacy Act,
 8   CAL. PENAL CODE§§ 630, et seq. ("CIPA") finding that "advances in science and technology
 9   have led to the developm ent of new devices and techniques for the pmpose of eavesdropping
10   upon private communications and that the invasion of privacy resulting from the continual
11   and increasing use of such devices and techniques has created a serious threat to the free
12   exercise of personal libe1iies and cannot be tolerated in a free and civilized society." Id. § 630.
13   Thus, the intent behind CIPA is "to protect the right of privacy of the people of this state." Id.
14           188.    CAL. PENAL CODE § 63 l(a) generally prohibits individuals, businesses, and
15   oth er legal entities from "aid[ing], agree[ing] with , employ[ing], or conspir[ing] with" a third
16   paiiy to read, attempt to read, or to leain the contents or meaning of any message, repo1i, or
17   communication while the same is in transit or passing over any wire, line, or cable, or is being
18   sent from , or received at any place within this state; or to use, or attempt to use, in any manner,
19   or for any pmpose, or to communicate in any way, any infonnation so obtained.
20           189.    CAL. PENAL CODE § 632(a) generally prohibits individuals, businesses, and
21   oth er legal entities from recording confidential communications without consent of all paiiies
22   to the communication.
23           190.    All alleged communications between Plaintiff or Class Members and
24   Defendant qualify as protected communications under CIPA because each communication is
25   made using personal computing devices (e.g., computers, smaiiphones, tablets) that send and
26   receive communications in whole or in paii through the use of facilities used for the
27   transmission of communications aided by wire, cable, or other like connections.
28
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 1           191.   Defendant used a recording device to record the confidential communications

 2   with out the consent of Plaintiff or Class members and then transmitted such infonnation to

 3   others, such as Facebook.

 4           192.   At all relevant times, Defendant 's aiding Facebook to learn the contents of

 5   communications and Defendant's recording of confidential communications was without

 6   authorization and consent.

 7           193.   The Plaintiff and Class Members had a reasonable expectation of privacy

 8   regarding the confidentiality of their communications with Defendant. Defendant told them it

 9   would not sell, rent, license, or trnde their personally identifiable info1mation to third paiiies

10   with out express consent. Defendant never received that express consent. Nor could Defendant

11   have received consent from Plaintiff and Class Members because Defendant never sought to,

12   or did, obtain Plaintiff s and Class Members' consent to transmit their Personal Health

13   fufo1mation to Facebook.

14           194.   Defendant engaged in and continues to engage in interception by aiding

15   others (including Facebook) to secretly record the contents of Plaintiffs and Class

16   Members' wire communications.

17           195.   The intercepting devices used in this case include, but ai·e not limited to:

18          (a)     Plaintiff and Class Members' personal computing devices;

19          (b)     Plaintiff and Class Members' web browsers;

20          (c)     Plaintiff and Class Members' browser-managed files;

21          (d)     Facebook's Meta Pixel;

22          (e)     futemet cookies;

23          (f)     Defendant's computer servers;

24          (g)     Third-pai·ty som ce code utilized by Defendant; and

25          (h)     Computer servers of third parties (including Facebook) to which

26                  Plaintiff and Class Members' communications were disclosed.

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 1            196.   Defendant aided in, and continues to aid in, the interception of contents in

 2   that the data from the communications between Plaintiff and/or Class Members and

 3   Defendant that were redirected to and recorded by the third paiiies include infonnation

 4   which identifies the pa1iies to each communication, their existence, and their contents.

 5            197.   Defendant aided in the interception of "contents" in at least the following

 6   fonns:

 7            (a)    The parties to the communications;

 8            (b)    The precise text of patient seai·ch queries;

 9            (c)    Personally identifying info1mation such as patients' IP addresses,

10                   Facebook IDs, browser fingerprints, and other unique identifiers;

11            (d)    The precise text of patient communications about specific doctors;

12            (e)    The precise text of patient communications about specific medical

13                   conditions;

14            (f)    The precise text of patient communications about specific treatments;

15            (g)    The precise text of patient communications about scheduling

16                   appointments with medical providers;

17            (h)    The precise text of patient communications about billing and

18                   payment;

19            (i)    The precise text of specific buttons on Defendant 's website(s) that

20                   patients click to exchange communications, including Log-Ins,

21                   Registrations, Requests for Appointments, Seai·ch, and other buttons;

22            (j)    The precise dates and times when patients click to Log-In on

23                   Defendant's website(s);

24            (k)    The precise dates and times when patients visit Defendant 's websites;

25            (1)    Information that is a general summaiy or informs third paiiies of the

26                   general subject of communications that Defendant send back to

27                   patients in response to search queries and requests for info1mation

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 1                   about specific doctors, conditions, treatments, billing, payment, and

 2                   other information ; and

 3           (m)      Any other content that Defendant has aided third pa1ties in scraping

 4                   from webpages or collllllunication forms at web prope1ties.

 5           198.    Plaintiff and Class Members reasonably expected that their Personal Health

 6   fufo1mation was not being intercepted, recorded, and disclosed to Facebook.

 7           199.    No legitim ate purpose was served by Defendant's willful and intentional

 8   disclosure of Plaintiffs and Class Members ' Personal Health fufonnation to Facebook.

 9   Neither Plaintiff nor Class Members consented to the disclosure of their Personal Health

10   fufo1mation by Defendant to Facebook. Nor could they have consented, given that Defendant

11   never sought Plaintiffs or Class Members' consent, or even told visitors to their websites that

12   their eve1y interaction was being recorded and transmitted to Facebook via the Meta Pixel

13   tool.

14           200.    Plaintiffs and Class Members ' electronic communications were intercepted

15   during transinission, without their consent, for the unlawful and/or wrongful purpose of

16   monetizing their Personal Health fufonnation, including using their sensitive medical

17   info1mation to develop marketing and advertising strategies.

18           201.    Plaintiff and the Class Members seek statut01y dam ages in accordance with

19    § 637.2(a), which provides for the greater of: (1) $5,000 per violation ; or (2) three times the

20   am ount of damages sustained by Plaintiff and the Class in an amount to be proven at trial, as

21   well as injunctive or other equitable relief.

22           202.    fu addition to statuto1y damages, Defendant's breach caused Plaintiff and Class

23   Members, at Ininimum, the following damages:

24           (a)     Sensitive and confidential info1mation that Plaintiff and Class

25                   Members intended to remain private is no longer private;

26           (b)     Defendant eroded the essential confidential nature of the doctor-patient

27                   relationship;

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 1           (c)     Defendant took something of value from Plaintiff and Class Members

 2                   and derived benefit therefrom without Plaintiff's and Class Members '

 3                   knowledge or info1med consent and without sharing the benefit of such

 4                   value;

 5           (d)     Plaintiff and Class Members did not get the full value of the medical

 6                   services for which they paid, which included Defendant's duty to

 7                   maintain confidentiality; and

 8           (e)     Defendant's actions diminished the value of Plaintiff and Class

 9                   Members' personal information.

10           203.    Plaintiff and Class Members have also suffered iITeparable injmy from

11   Defendant's unauthorized acts of disclosure. Their personal, private, and sensitive data has

12   been collected, viewed, accessed, stored, and used by Defendant and Facebook with out their

13   consent and has not been destroyed. Plaintiff and Class Members have suffered haim and

14   injmy, including but not limited to the invasion of their privacy rights. Plaintiff continues to

15   desire to search for health info1mation on Hoag Memorial's website. Plaintiff will continue to

16   suffer haim if the website is not redesigned. If the website were redesigned to comply with

17   applicable laws, Plaintiff would use the Hoag Memorial website to search for health

18   info1mation in the future. Due to the continuing threat of injmy, Plaintiff and Class Members

19   have no adequate remedy at law, and Plaintiff and Class Members ai·e therefore entitled to

20   injunctive relief.

21           204.    Plaintiff and Class Members also seek such other relief as the Court may deem

22   equitable, legal, and proper.

23                          COUNT II-VIOLATION OF CALIFORNIA
                          CONFIDENTIALITY OF MEDICAL INFORMATION
24                           ACT ("CMIA") CIVIL CODE SECTION 56.06

25           205.    Plaintiff re-alleges and inc01porates all preceding pai·agraphs.

26           206.    Plaintiff brings this claim on behalf of herself and all members of the Hoag

27   Memorial Class.

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 1          207.    Defendant is a provider of health care under CAL. CML CODE. § 56.06,

 2   subdivision (a) and (b), because it maintains medical infonnation and offers software to

 3   consumers that is designed to maintain medical infonnation for the purposes of allowing their

 4   users to manage their info1mation or for the diagnosis, treatment, or management of a medical

 5   condition.

 6          208.    Defendant is therefore subject to the requirements of the CMIA and obligated

 7   under subdivision (d) to maintain the same standards of confidentiality required of a provider

 8   of health care with respect to medical info1mation disclosed to it.

 9          209.    Defendant violated Civil Code section 56.06 because it did not maintain the

10   confidentiality of users ' medical info1mation. Instead, Defendant disclosed Plaintiffs and

11   Class Members' medical infonnation to Facebook without consent. This info1mation was

12   intentionally shared with Facebook, whose business is to sell adve1i isements based on the data

13   that it collects about individuals, including the data Plaintiff and the Class Members shared

14   with Defendant.

15          210.    Defendant knowingly and willfully, or negligently, disclosed medical

16   info1mation without consent to Facebook for financial gain. Defendant's conduct was

17   knowing and willful as it was aware that Facebook would collect all data inputted while using

18   their website, yet intentionally embedded Meta Pixel anyway.

19          211.    Accordingly, Plaintiff and Class members are entitled to : (1) nominal dam ages

20   of $1,000; (2) actual damages, in an amount to be dete1mined at trial; (3) statuto1y damages

21   pursuant to 56.36(c); and (4) reasonable attorney 's fees and other litigation costs reasonably

22   incuned.

23          212.    In addition to statuto1y damages, Defendant's breach caused Plaintiff and Class

24   Members, at minimum, the following damages:

25          (a)     Sensitive and confidential info1mation that Plaintiff and Class

26                  Members intended to remain private is no longer private;

27

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 1          (b)     Defendant eroded the essential confidential nature of the doctor-patient

 2                  relationship;

 3          (c)     Defendant took something of value from Plaintiff and Class Members

 4                  and derived benefit therefrom without Plaintiffs and Class Members '

 5                  knowledge or info1med consent and without sharing the benefit of such

 6                  value;

 7          (d)     Plaintiff and Class Members did not get the full value of the medical

 8                  se1vices for which they paid, which included Defendant's duty to

 9                  maintain confidentiality; and

10          (e)     Defendant's actions diminished the value of Plaintiff and Class

11                  Members' personal information.

12          213.    Plaintiff and Class Members also seek such other relief as the Court may deem

13   equitable, legal, and proper.

14                   COUNT III-VIOLATION OF CMIA CIVIL CODE§ 56.101

15          214.    Plaintiff re-alleges and inc01porates all preceding paragraphs.

16          215.    Plaintiff brings this claim on behalf of herself and all members of the Hoag

17   Memorial Class.

18          216.    Civil Code§ 56.101, subdivision (a) requires that eve1y provider of health care

19   "who creates, maintains, preserves, stores, abandons, destroys, or disposes of medical

20   infonnation shall do so in a manner that preserves the confidentiality of the infonnation

21   contained therein."

22          217.    Any health care provider who "negligently creates, maintains, preservers,

23   stores, abandons, destroys, or disposes of medical infonnation shall be subject to the remedies

24   and penalties provided under subdivisions (b) and (c) of Section 56.36."

25          218.    Defendant failed to maintain, preserve, and store medical infonnation in a

26   manner that prese1ves the confidentiality of the infonnation contained therein because it

27   disclosed to Facebook Plaintiffs and Class Members ' sensitive medical infonnation without

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 1   consent, including info1mation concerning their health status, medical diagnoses, treatment,

 2   and appointment info1mation, as well as personally identifiable infonnation.

 3          219.    Defendant's failure to maintain, preserve, and store medical infonnation in a

 4   manner that prese1ves the confidentiality of the info1mation was, at the least, negligent and

 5   violates Civil Code§ 56.36 subdivisions (b) and (c).

 6          220.    Accordingly, Plaintiff and Class Members m ay recover: (1) nominal damages

 7   of $1 ,000; (2) actual damages, in an amount to be detennined at trial; (3) statuto1y damages

 8   pursuant to 56.36(c); and (4) reasonable attorney 's fees and other litigation costs reasonably

 9   incuned .

10          221.    fu addition to statuto1y damages, Defendant's breach caused Plaintiff and Class

11   Members, at minimum, the following damages:

12          (a)     Sensitive and confidential info1mation that Plaintiff and Class

13                  Members intended to remain private is no longer private;

14          (b)     Defendant eroded the essential confidential nature of the doctor-patient

15                  relationship;

16          (c)     Defendant took something of value from Plaintiff and Class Members

17                  and derived benefit therefrom without Plaintiff's and Class Members '

18                  knowledge or info1med consent and without sharing the benefit of such

19                  value;

20          (d)     Plaintiff and Class Members did not get the full value of the medical

21                  se1vices for which they paid, which included Defendant's duty to

22                  maintain confidentiality; and

23          (e)     Defendant's actions diminished the value of Plaintiff and Class

24                  Members' personal information .

25          222.    Plaintiff and Class Members also seek such other relief as the Court may deem

26   equitable, legal, and proper.

27

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 1                        COUNT IV-VIOLATION OF CMIA CIVIL CODE§
                                           56.10
 2
             223.   Plaintiff re-alleges and inc01porates all preceding paragraphs.
 3
             224.   Plaintiff brings this claim on behalf of herself and all members of the Hoag
 4
     Memorial Class.
 5
             225.   Civil Code § 56.10, subdivision (a), prohibits a health care provider from
 6
     disclosing medical infonnation without first obtaining an authorization, unless a statuto1y
 7
     exception applies.
 8
             226.   Defendant disclosed medical info1mation without first obtaining authorization
 9
     when it disclosed Plaintiffs and Class Members' sensitive medical info1mation to Facebook
10
     with out consent, including infonnation concerning their health status, medical diagnoses,
11
     treatment, and appointment infonnation, as well as personally identifiable info1mation . No
12
     statuto1y exception applies. As a result, Defendant violated Civil Code§ 56.10, subdivision
13
      (a).
14
             227.   Defendant knowingly and willfully, or negligently, disclosed medical
15
     info1mation without consent to Facebook for financial gain.
16
             228.   Accordingly, Plaintiff and Class Members may recover: (1) nominal damages
17
     of $1 ,000; (2) actual damages, in an amount to be dete1mined at trial; (3) statuto1y damages
18
     pursuant to 56.36(c); (4) punitive damages pursuant to 56.35; and (5) reasonable attorney's
19
     fees and other litigation costs reasonably incmTed .
20
             229.   fu addition to statuto1y damages, Defendant's breach caused Plaintiff and Class
21
     Members, at minimum, the following damages:
22
             (a)    Sensitive and confidential info1mation that Plaintiff and Class
23
                    Members intended to remain private is no longer private;
24
             (b)    Defendant eroded the essential confidential nature of the doctor-patient
25
                    relationship;
26

27

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 1           (c)    Defendant took something of value from Plaintiff and Class Members

 2                  and derived benefit therefrom without Plaintiff's and Class Members '

 3                  knowledge or info1med consent and without sharing the benefit of such

 4                  value;

 5           (d)    Plaintiff and Class Members did not get the full value of the medical

 6                  services for which they paid, which included Defendant's duty to

 7                  maintain confidentiality; and

 8           (e)    Defendant's actions diminished the value of Plaintiff and Class

 9                  Members' personal information.

10          230.    Plaintiff and Class Members also seek such other relief as the Court may deem

11   equitable, legal, and proper.

12                  COUNT V-INVASION OF PRIVACY AND VIOLATION OF
                      THE CALIFORNIA CONSTITUTION, ART.1, § 1
13
            231.    Plaintiff re-alleges and inc01porates all preceding paragraphs.
14
            232.    Plaintiff brings this claim on behalf of herself and all members of the Hoag
15
     Memorial Class.
16
            233.    Article I, Section 1 of the California Constitution provides: "All people are by
17
     nature free and independent and have inalienable rights . Among these are enjoying and
18
     defending life and libe11y, acquiring, possessing, and protecting prope1iy, and pursuing and
19
     obtaining safety, happiness, and privacy." California Constitution, Article I, Section 1.
20
            234.    To state a claim for invasion of privacy under the California Constitution, a
21
     plaintiff must establish (1) a legally protected privacy interest; (2) a reasonable expectation of
22
     privacy; and (3) an intmsion so serious in nature, scope, and actual or potential impact as to
23
     constitute an egregious breach of social nonns .
24
            235.    The right to privacy in California's constitution creates a right of action against
25
     private and government entities.
26

27

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 1           236.    Plaintiff and Class Members have and continue to have a reasonable

 2   expectation of privacy in their personal information, identities, and user data pursuant to

 3   Article I, Section I of the California Constitution.

 4           23 7.   Plaintiff and Class Members had a reasonable expectation of privacy under the

 5   circumstances, including that: (i) the data collected, used, and disclosed by Defendant

 6   included personal, sensitive medical info1mation, decisions, and medical diagnoses; and

 7    (ii) Plaintiff and Class Members did not consent or othe1wise authorize Defendant to disclose

 8   this info1mation to others or to collect and use this private info1mation for their own monetaiy

 9   gam .

10           238.    Given the nature of the Personal Health Info1mation that Defendant disclosed

11   to Facebook, such as patients ' names, email addresses, phone numbers, infonnation entered

12   into fo1ms, doctor's names, potential doctor 's names, the seai·ch te1ms used to locate doctors

13    (i.e., "Weight loss") , medications, and details about upcoming doctor 's appointments, this

14   kind of intrusion would be (and in fact is) highly offensive to a reasonable person.

15           239.    The disclosure of personally identifiable medical info1mation constitutes an

16   unreasonable, substantial, and serious interference with Plaintiffs and Class Members ' rights

17   to privacy.

18           240.    Plaintiff and Class Members did not consent to, authorize, or know about

19   Defendant's disclosure of their Personal Health Info1mation to F acebook at the time it

20   occmTed. Plaintiff and Class Members never agreed that their sensitive medical info1mation

21   could be collected, used, and monetized by Facebook.

22           241.    Plaintiff and Class Members have suffered haim and injmy , including but not

23   limited to the invasion of their privacy rights . Plaintiff continues to desire to search for health

24   info1mation on Hoag Memorial's website. They will continue to suffer haim if the website is

25   not redesigned. If the website were redesigned to comply with applicable laws, Plaintiff would

26   use the Hoag Mem orial website to seai·ch for health info1mation in the future.

27

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 1          242.    Plaintiff and Class Members therefore seek injunctive relief to prevent

 2   Defendant from continuing to collect, use, and sell Personal Health Info1mation without

 3   consent.

 4          243.    Plaintiff and Class Members have been damaged as a direct and proximate

 5   result of Defendant's invasion of their privacy and are entitled to seek just compensation,

 6   including monetaiy damages.

 7          244.    Plaintiff and Class Members seek appropriate relief for their injuries, including

 8   but not limited to damages that will reasonably compensate Plaintiff and Class Members for

 9   the haim to their privacy interests as well as a disgorgement of profits made by Defendant as

10   a result of their intrusions on Plaintiff and Class Members ' privacy.

11          245.    Defendant's breach caused Plaintiff and Class Members, at minimum, the

12   following damages:

13          (a)     Sensitive and confidential infonnation that Plaintiff and Class Members

14                  intended to remain private is no longer private;

15          (b)     Defendant eroded the essential confidential nature of the doctor-patient

16                  relationship;

17          (c)     Defendant took something of value from Plaintiff and Class Members and

18                  derived benefit therefrom without Plaintiffs and Class Members'

19                  knowledge or info1med consent and with out sharing the benefit of such

20                  value;

21          (d)     Plaintiff and Class Members did not get the full value of the medical

22                  services for which they paid, which included Defendant's duty to maintain

23                  confidentiality; and

24          (e)     Defendant's actions diminished the value of Plaintiff and Class Members'

25                  personal infonnation.

26          246.    Plaintiff and Class Members are also entitled to punitive damages resulting

27   from the malicious, willful, and intentional nature of Defendant's actions, which caused injmy

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 1   to Plaintiff and Class Members in conscious disregard of their rights. Such damages are

 2   needed to deter Defendant from engaging in such conduct in the future.

 3          247.    Plaintiff and Class Members seek attorney's fees in accordance with CAL. Crv.

 4   PROC. CODE§ 1021.5 (West) .

 5          248.    Plaintiff and Class Members also seek such other relief as the Court may deem

 6   equitable, legal, and proper.

 7                     COUNT VI-VIOLATION OF THE COMPREHENSIVE
                          COMPUTER DATA ACCESS AND FRAUD ACT
 8                            ("CDAFA") CAL. PENAL CODE§ 502

 9          249.    Plaintiff re-alleges and inc01porates all preceding paragraphs.

10          250.    Plaintiff brings this claim on behalf of herself and all members of the Hoag

11   Memorial Class.

12          251.    The California Legislature enacted the Comprehensive Computer Data Access

13   and Fraud Act, CAL. PENAL CODE § 502 ("CDAFA") to "expand the degree of protection ...

14   from tampering, interference, damage, and unauthorized access to [including the extrnction of

15   data from] lawfully created computer data and computer systems," finding and declaring that

16   "the proliferation of computer technology has resulted in a concomitant proliferation of ...

17   fo1ms of unauthorized access to computers, computer systems, and computer data," and that

18   "protection of the integrity of all types and fo1ms of lawfully created computers, computer

19   systems, and computer data is vital to the protection of the privacy of individuals ... " CAL.

20   PENALCODE § 502(a).

21          252.    Plaintiffs and the Class Members' devices on which they accessed the hospital

22   website, including their computers, smait phones, and tablets, constitute computers or

23   "computer systems" within the meaning of CDAFA. Id. § 502(b)(5) .

24          253.    Defendant violated § 502(c)(1 )(B) of CDAFA by knowingly accessing without

25   pe1mission Plaintiff's and Class Members' devices in order to wrongfully obtain and use their

26   personal data, including their sensitive medical info1mation, in violation of Plaintiff and Class

27   Members' reasonable expectations of privacy in their devices and data.

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 1           254.    Defendant violated CAL. PENAL CODE§ 502(c)(2) by knowingly and without

 2   permission accessing, taking, copying, and using Plaintiff's and the Class Members '

 3   personally identifiable info1mation, including their sensitive medical info1mation .

 4           255.    The computers and mobile devices that Plaintiff and Class Members used when

 5   accessing Defendant's website all have and operate " computer services" within the meaning

 6   of CDAFA. Defendant violated§§ 502(c)(3) and (7) of CDAFA by knowingly and without

 7   pe1mission accessing and using those devices and computer services, and/or causing them to

 8   be accessed and used, inter alia, in connection with Facebook's wrongful collection of such

 9   data.

10           256.    Under § 502(b )(12) of the CDAFA a "Computer contaminant" is defined as

11   " any set of computer instm ctions that are designed to . . . record, or transmit infonnation

12   within a computer, computer system, or computer network without the intent or pe1mission of

13   the owner of the infonnation." Defendant violated § 502(c)(8) by knowingly and without

14   pe1mission introducing a computer contaminant via Meta Pixel embedded into the hospital

15   website which intercepted Plaintiff's and the Class Members' private and sensitive medical

16   infonnation .

17           257.    Defendant's breach caused Plaintiff and Class Members, at minimum, the

18   following dam ages:

19           (a)     Sensitive and confidential info1mation that Plaintiff and Class

20                   Members intended to remain private is no longer private;

21           (b)     Defendant eroded the essential confidential nature of the doctor-patient

22                   relationship;

23           (c)     Defendant took something of value from Plaintiff and Class Members

24                   and derived benefit therefrom without Plaintiff's and Class Members '

25                   knowledge or info1med consent and without sharing the benefit of such

26                   value;

27

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 1          (d)     Plaintiff and Class Members did not get the full value of the medical

 2                  services for which they paid, which included Defendant's duty to

 3                  maintain confidentiality; and

 4          (e)     Defendant's actions diminished the value of Plaintiff and Class

 5                  Members' personal information.

 6          258.    Plaintiff and Class Members also seek such other relief as the Court may deem

 7   equitable, legal, and proper.

 8          259.    Plaintiff and the Class Members seek compensato1y damages in accordance

 9   with CAL. PENAL CODE § 502(e)(1 ), in an amount to be proved at trial, and injunctive or other

10   equitable relief. Plaintiff continues to desire to search for health info1mation on Hoag

11   Memorial's website. They will continue to suffer haim if the website is not redesigned. If the

12   website were redesigned to comply with applicable laws, Plaintiff would use the Hoag

13   Memorial website to search for health info1mation in the future.

14          260.    Plaintiff and Class members ai·e entitled to punitive or exempla1y damages

15   pursuant to CAL. PENAL CODE§ 502(e)(4) because Defendant's violations were willful and,

16   upon infonnation and belief, Defendant is guilty of oppression, fraud, or malice as defined in

17   CAL. CIVIL CODE § 3294.

18          261.    Plaintiff and the Class members ai·e also entitled to recover their reasonable

19   attorney's fees under§ 502(e)(2).

20                          COUNT VII-BREACH OF IMPLIED IN FACT
                                        CONTRACT
21
            262.    Plaintiff re-alleges and inc01porates all preceding pai·agraphs.
22
            263.    Plaintiff Jane Doe brings this claim on behalf of herself and all members of the
23
     Patient Subclass.
24
            264.    Defendant's notice of "Patient Rights" assures patients and prospective
25
     patients that they are entitled to "[c]onfidential treatment of all communications and records
26

27

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 1   pe1iaining to your care and stay in the hospital." 99 Likewise, Defendant's "Notice of Privacy

 2   Practices" tells patients that "We understand that your medical infonnation is personal" and

 3   that Hoag is required to "[k]eep your medical info1mation private." 100 Defendant also

 4   promises patients and prospective patients that it will never disclose their medical info1mation

 5   "for marketing pmposes" or make "disclosures that constitute the sale of your medical

 6   info1mation" without patients' "written authorization." 101

 7              265.     Defendant solicited and invited Plaintiff and Patient Subclass Members to

 8   provide their Private Health Info1mation on its website as pali of Defendant's regular business

 9   practices. Plaintiff and Patient Subclass Members accepted Defendant's offers and provided

10   their Private Health Info1mation to Defendant as paii of acquiring Defendant's medical

11   services. Per its contractual, legal, ethical, and fiduciaiy duties, Defendant was obligated to

12   take adequate measures to protect Plaintiffs and Patient Subclass Members' Personal Health

13   Info1mation from unauthorized disclosure to third paiiies such as Facebook. These facts give

14   rise to the inference that Defendant took on obligations outside the plain tenns of any express

15   contracts that it may have had with Plaintiff and Patient Subclass Members.

16              266.     Plaintiff and the Patient Subclass Members entered into valid and enforceable

17   implied contracts with Defendant when they sought medical treatment from Defendant.

18    Specifically, through their course of conduct, Defendant, Plaintiff, and Patient Subclass

19   Members entered into implied contracts for the provision of medical care and treatment, which

20   included an implied agreement for Defendant to retain and protect the privacy of Plaintiffs

21   and Patient Subclass Members' Personal Health Info1mation.

22              267.     Defendant required and obtained Plaintiffs and Patient Subclass Members'

23   Personal Health Infonnation as paii of the physician-patient relationship, evincing an implicit

24
25   99   https://upload.cdn-hoag.org/wp-content/uploads/2022/ 11/04161032/ 10957_ PatientlnfoBooklet_ 1022_ 4b.pdf
      100
       https://upload.cdn-hoag.org/wp-
26
     content/uploads/2022/ 11/04161032/ 10957_PatientinfoBooklet_ 1022_ 4b.pdf
27    101
       https://upload.cdn-hoag.org/wp-
     content/uploads/2022/ 11/04161032/ 10957_PatientinfoBooklet_ 1022_ 4b.pdf
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 1   promise by Defendant to act reasonably to protect the confidentiality of Plaintiffs and Patient

 2    Subclass Members ' Personal Health Infonnation. Defendant, through its privacy policies,

 3   codes of conduct, company security practices, and other conduct, implicitly promised that it

 4   would safeguard Plaintiff's and Patient Subclass Members' Personal Health Infonnation in

 5   exchange for access to that info1mation and the opportunity to treat Plaintiff and Patient

 6    Subclass Members.

 7           268.    Implied in the exchange was a promise by Defendant to ensure that the

 8   Personal Health Info1mation of Plaintiff and Patient Subclass Members in its possession

 9   would only be used for medical treatment purposes and would not be shared with third paities

10   such as Facebook without the knowledge or consent of Plaintiff and Patient Subclass

11   Members. By asking for and obtaining Plaintiff's and Patient Subclass Members ' Personal

12   Health Infonnation, Defendant assented to protecting the confidentiality of that info1mation.

13   Defendant's implicit agreement to safeguard the confidentiality of Plaintiff's and Patient

14    Subclass Members' Personal Health Info1mation was necessaiy to effectuate the contract

15   between the paities.

16           269.    Plaintiff and Patient Subclass Members provided their Personal Health

17   Info1mation in reliance on Defendant's implied promise that this info1mation would not be

18   shai·ed with third paities without their consent.

19           270.    These exchanges constituted an agreement and meeting of the minds between

20   the pa1ties: Plaintiff and Patient Subclass Members would provide their Personal Health

21   Info1mation in exchange for the medical treatment and oth er benefits provided by Defendant

22    (including the protection of their confidential personal and medical info1mation). A po1tion of

23   the price of each payment that Plaintiff and the Patient Subclass Members made to Defendant

24   for medical services was intended to ensure the confidentiality of their Personal Health

25   Info1mation.

26           271.    In entering into such implied contracts, Plaintiff and Patient Subclass Members

27   reasonably believed and expected that Defendant would comply with its promises to protect

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 1   the confidentiality of their Personal Health Infonnation as well as applicable laws and

 2   regulations governing the disclosure of such info1mation and that Defendant would not allow

 3   third paiiies to collect or exploit their communications with Defendant without their consent.

 4          272.    It is cleai· by these exchanges that the parties intended to enter into an

 5   agreement and mutual assent occuned. Plaintiff and Patient Subclass Members would not

 6   have disclosed their Personal Health Info1mation to Defendant but for the prospect of

 7   Defendant's promise of medical treatment and other benefits. Conversely, Defendant

 8   preslllllably would not have taken Plaintiff and Patient Subclass Members' Personal Health

 9   Info1mation if they did not intend to provide them with medical treatment and other benefits.

10          273.    Defendant was therefore required to reasonably safeguai·d and protect the

11   Personal Health Infonnation of Plaintiff and Patient Subclass Members from unauthorized

12   disclosure and/or use by third paiiies.

13          274.    Plaintiff and Patient Subclass Members accepted Defendant 's medical services

14   offer and fully perfonned their obligations under the implied contract with Defendant by

15   providing their Personal Health Infonnation to Defendant among other obligations. Plaintiff

16   and Patient Subclass Members would not have provided and entrusted their Personal Health

17   Info1mation to Defendant in the absence of their implied conti·acts with Defendant and would

18   have instead retained the oppo1iunity to control their Personal Health Infonnation for uses

19   other than the benefits offered by Defendant.

20          275.    Plaintiff and Patient Subclass Members relied on Defendant's implied

21   promises to safeguard their Personal Health Info1mation to their detriment. Defendant

22   breached the implied conti·acts with Plaintiff and Patient Subclass Members by failing to

23   reasonably safeguai·d and protect Plaintiffs and Patient Subclass Members ' Personal Health

24   Info1mation from disclosure to Facebook.

25          276.    Defendant's failure to implement adequate measures to protect the Personal

26   Health Infonnation of Plaintiff and Patient Subclass Members and Defendant's intentional

27   disclosure of the same to Facebook violated the pmpose of the agreement between the parties:

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 1   Plaintiffs and Patient Subclass Members' prov1s10n of money and Personal Health

 2   fufo1mation in exchange for medical services and other benefits.

 3           277.   fustead of safeguarding Plaintiff's and Patient Subclass Members' Personal

 4   Health fufo1mation, Defendant intentionally shared that info1mation with Facebook, thereby

 5   breaching the implied contrncts it had with Plaintiff and Patient Subclass Members.

 6           278.   Plaintiff and Patient Subclass Members who paid money to Defendant

 7   reasonably believed and expected that Defendant would use pali of those funds to operate its

 8   website free of smTeptitious collection and exploitation of communications between the

 9   paiiies. Defendant failed to do so. Plaintiff and Patient Subclass Members would not have

10   sought medical services from Defendant if they had known that Defendant would shai·e their

11   Personal Health fufonnation with Facebook without their knowledge or written consent.

12           279.   Under the implied contracts, Defendant and/or its affiliated healthcare

13   providers promised and were obligated to: (a) provide healthcare to Plaintiff and Patient

14    Subclass Members; and (b) protect Plaintiff's and the Patient Subclass Members' Personal

15   Health fufonnation provided to obtain such healthcare. fu exchange, Plaintiff and Patient

16    Subclass Members agreed to pay money for these services, and to tum over their Personal

17   Health fufo1mation through the use of Defendant's websites.

18           280.   Both the provision of medical services and the protection of Plaintiff and

19   Patient Subclass Members ' Private Health fufo1mation were material aspects of these implied

20   contracts .

21           281.   The implied contracts for the provision of medical se1vices-contracts that

22   include the contractual obligations to maintain the privacy of Plaintiff's and Patient Subclass

23   Members' Private Health fufo1mation unless they consented-ai·e also acknowledged,

24   memorialized, and embodied in multiple documents, including (among other documents)

25   Defendant's published Notice of Privacy Practices.

26           282.   Defendant's express representations, including, but not limited to, the express

27   representations found in its Website Privacy Notice, memorialize and embody an implied

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 1   contractual obligation requiring Defendant to refrain from aiding or allowing third parties to

 2   collect Plaintiff's and Patient Subclass Members' Private Health Infonnation without consent.

 3   By soliciting and acquiring Plaintiff's and Patient Subclass Members' Personal Health

 4   Info1mation, Defendant assumed an independent duty to handle Plaintiff's and Patient

 5    Subclass Members' Personal Health Info1mation with due care and consistent with industry

 6   standards to prevent the foreseeable haim that ai·ises from a breach of that duty.

 7           283.   Consumers of healthcare value their privacy, the privacy of their dependents,

 8   and the ability to keep their Private Health Info1mation associated with obtaining healthcare

 9   private. To customers such as Plaintiff and the Patient Subclass Members, healthcare that

10   allows third paiiies to secretly collect their Private Health Infonnation without consent is

11   fundamentally less useful and less valuable than healthcare that refrains from such practices.

12   Plaintiff and Patient Subclass Members would not have entmsted their Private Health

13   Info1mation to Defendant and entered into these implied conti·acts with Defendant without an

14   understanding that their Private Health Infonnation would be safeguai·ded and protected or

15   entmsted their Private Health Infonnation to Defendant in the absence of its implied promise

16   to do so.

17           284.   A meeting of the minds occmTed when Plaintiff and the Patient Subclass

18   Members agreed to, and did, provide their Private Health Infonnation to Defendant and/or its

19   affiliated healthcai·e providers and paid for the provided healthcai·e in exchange for, ainongst

20   oth er things, (a) the provision of healthcai·e and medical se1vices and (b) the protection of

21   their Private Health Information.

22           285.   Plaintiff and the Patient Subclass Members perfo1med their obligations under

23   the conti·act when they paid for their healthcai·e se1vices and provided their Private Health

24   Info1mation.

25           286.   Defendant materially breached its contractual obligation to protect the

26   nonpublic Private Health Infonnation Defendant gathered when it allowed Facebook to collect

27   and exploit that info1mation with out Plaintiff's and Patient Subclass Members' consent

28
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 1           287.    Defendant also materially breached its contractual obligation to protect

 2   Plaintiffs and Patient Subclass Members' non-public Personal Health Infonnation when it

 3   failed to implement adequate security measures and policies to protect the confidentiality of

 4   that infonnation. For example, on infonnation and belief, Defendant (1) failed to implement

 5   internal policies and procedures prohibiting the disclosure of patients' Personal Health

 6   Info1mation with out consent to third-pa1iy adveitising companies like Facebook, (2) failed to

 7   implement adequate reviews of the software code and java script installed on its websites to

 8   ensure that patients' Personal Health Inf01mation was not being automatically routed without

 9   consent to third-paiiy adve1iising companies like Facebook, (3) failed to provide adequate

10   notice to the public that visitors to its websites risked having their Personal Health Info1mation

11   shai·ed with third-party adve1iising companies like Facebook, (4) failed to take other industiy -

12   standard privacy protection measures such as providing a "cookie" acceptance button on its

13   website homepages, (5) failed to implement internal policies and educational programs to

14   ensure that Defendant's website managers and coders were fainiliai· with the legal regulations

15   governing the disclosure patient Personal Health Info1mation to third pa1iies, and (6) failed to

16   install adequate firewalls or take similar m easures to prevent the automatic routing of patients '

17   Personal Health Infonnation to third paiiy adve1iising companies like Facebook.

18           288.    As a result of Defendant's failure to fulfill the data-privacy protections

19   promised in these conti·acts, Plaintiff and Patient Subclass Members did not receive the full

20   benefit of their bargains, and instead received healthcai·e and oth er services that were of a

21   diminished value compai·ed to those described in the conti·acts. Plaintiff and Patient Subclass

22   Members were therefore damaged in an ainount at least equal to the difference in the value of

23   the healthcai·e se1v ices with data privacy they paid for and the healthcai·e se1vices they

24   received.

25           289.    As a result of Defendant's m aterial breaches, Plaintiff and Patient Subclass

26   Members were deprived of the benefit of their bai·gain with Defendant because they spent

27   more on medical se1vices with Defendant than they would have if they had known that

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 1   Defendant was not providing the reasonable data security and confidentiality of patient

 2   communications that Defendant represented that it was providing in its privacy policies.

 3   Defendant's failure to honor its promises that it would protect the confidentiality of patient

 4   communications thus resulted in Plaintiff and Patient Subclass Members ove1paying

 5   Defendant for the services they received.

 6           290.   The se1vices that Plaintiff and Patient Subclass Members ultimately received

 7   in exchange for the monies paid to Defendant were wo1ih quantifiably less than the se1vices

 8   that Defendant promised to provide, which included Defendant's promise that any patient

 9   communications with Defendant would be treated as confidential and would never be

10   disclosed to third paities for marketing pmposes without the express consent of patients.

11           291.   The medical se1vices that Defendant offers ai·e available from many other

12   health cai·e systems who do protect the confidentiality of patient communications. Had

13   Defendant disclosed that they would allow third paities to secretly collect Plaintiff and Patient

14    Subclass Members' Private Health Infonnation without consent, neither the Plaintiff, the

15   Patient Subclass Members, nor any reasonable person would have purchased healthcare from

16   Defendant and/or their affiliated healthcai·e providers.

17           292.   Defendant's conduct in shai·ing Plaintiffs and Patient Subclass Members'

18   Personal Health Infonnation with Facebook also diminished the sales value of that

19   infonnation. There is a robust market for the type of info1mation that Plaintiff and Patient

20    Subclass Members shai·ed with Defendant (which Defendant then shai·ed with Facebook).

21   Indeed, Facebook itself has offered to pay the public to acquire similai· info1mation in the past

22   so that Facebook could use such info1mation for mai·keting pmposes. Plaintiff and Patient

23    Subclass Members were haimed both by the dissemination of their Personal Health

24   Info1mation and by losing the sales value of that info1mation.

25           293.   As a direct and proximate result of these failures, Plaintiff and the Patient

26    Subclass Members have been haimed and have suffered, and will continue to suffer, actual

27   damages and injuries, including, without limitation, the release and disclosure of their Private

28
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 1   Health Info1mation, the loss of control of their Private Health Info1mation, the diminution in

 2   value of their Personal Health Info1mation, and the loss of the benefit of the bargain they had

 3   shu ck with Defendant.

 4          294.    Plaintiff and the Patient Subclass Members are entitled to compensato1y and

 5   consequential damages suffered as a result.

 6          295.    Plaintiff and Patient Subclass Members also face a real and immediate threat

 7   of future injmy to the confidentiality of their Personal Health infonnation both because such

 8   info1mation remains within Defendant's control and because anytime that Plaintiff and/or

 9   Patient Subclass Members interact with Defendant's websites to make appointinents, search

10   for info1mation about their medical conditions, search for a doctor, or othe1w ise seek

11   assistance with their medical conditions, they risk further disclosure of their Personal Health

12   Info1mation. Plaintiff and the Patient Subclass Members are therefore also entitled to

13   injunctive relief requiring Defendant to cease all website operations that allow for the third-

14   party capture of Private Health Info1mation.

15                                  COUNT VIII-QUASI-
                         CONTRACT/RESTITUTION/UNJUST ENRICHMENT
16
            296.    Plaintiff re-alleges and inc01porates all preceding paragraphs.
17
            297.    Plaintiff Jane Doe brings this claim on behalf of herself and all members of the
18
     Patient Subclass.
19
            298.    Plaintiff Jane Doe pleads this cause of action in the alternative to Count VII.
20
            299.    "Common law principles of restitution require a party to retmn a benefit when
21
     the retention of such benefit would unjustly emich the recipient; a typical cause of action
22
     involving such remedy is 'quasi-contract."' Munoz v. MacMillan (2011) 195 Cal. App. 4th
23
     648, 661,124 Cal. Rptr. 3d 664; see also City of Oakland v. Oakland Raiders (2022) 83 Cal.
24
     App. 5th 458, 299 Cal. Rpti·. 3d 463, 478.
25
            300.    Plaintiff and Patient Subclass Members personally and directly confened a
26
     benefit on Defendant by paying Defendant for health care services, which included
27

28
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 1   Defendant's obligation to protect Plaintiff's and Class Members ' Personal Health

 2   fufo1mation. Defendant was aware of receiving these payments from Plaintiff and Patient

 3    Subclass Members and demanded such payments as a condition of providing treatment.

 4           301.   Plaintiff and Patient Subclass Members also confened a benefit on Defendant

 5   in the fonn of valuable sensitive medical info1mation that Defendant collected from Plaintiff

 6   and Patient Subclass Members under the guise of keeping this info1mation private. Defendant

 7   collected, used, and disclosed this infonnation for its own gain, including for adve1iisement

 8   purposes, sale, or trade for valuable se1vices from Facebook and other third paiiies. Defendant

 9   had knowledge that Plaintiff and Patient Subclass Members had conferred this benefit on

10   Defendant by interacting with their website, and Defendant intentionally installed the Meta

11   Pixel tool on its website to capture and monetize this benefit confe1Ted by Plaintiff and Patient

12    Subclass Members.

13           302.   Plaintiff and the Patient Subclass Members would not have used the

14   Defendant's se1vices, or would have paid less for those se1vices, if they had known that

15   Defendant would collect, use, and disclose this info1mation to Facebook. The se1vices that

16   Plaintiff and Patient Subclass Members ultimately received in exchange for the monies paid

17   to Defendant were worth quantifiably less than the se1v ices that Defendant promised to

18   provide, which included Defendant's promise that any patient communications with

19   Defendant would be treated as confidential and would never be disclosed to third paiiies for

20   mai·keting purposes with out the express consent of patients.

21           303.   The medical se1vices that Defendant offers ai·e available from many other

22   health cai·e systems that do protect the confidentiality of patient communications. Had

23   Defendant disclosed that it would allow third paiiies to secretly collect Plaintiff's and Patient

24    Subclass Members ' Private Health fufonnation without consent, neither Plaintiff, the Patient

25    Subclass Members, nor any reasonable person would have purchased healthcare from

26   Defendant and/or its affiliated healthcai·e providers.

27

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 1          304.    Defendant unjustly retained those benefits at the expense of Plaintiff and

 2   Patient Subclass Members because Defendant's conduct dam aged Plaintiff and Patient

 3    Subclass Members, all without providing any cormnensm ate compensation to Plaintiff and

 4   Patient Subclass Members.

 5          305.    The benefits that Defendant derived from Plaintiff and Patient Subclass

 6   Members rightly belong to Plaintiff and Patient Subclass Members. It would be inequitable

 7   under unjust enrichment principles for Defendant to be pennitted to retain any of the profit or

 8   oth er benefits it derived from the unfair and unconscionable methods, acts, and trnde practices

 9   alleged in this Complaint.

10          306.    Defendant should be compelled to disgorge in a common fund for the benefit

11   of Plaintiff and Class Members all unlawful or inequitable proceeds that Defendant received,

12   and such other relief as the Comi may deem just and prop er.

13                   COUNT IX-VIOLATION OF CAL. BUS. & PROF. CODE
                                   §§ 17200 ET. SEQ.
14
            307.    Plaintiff re-alleges and inc01porates all preceding paragraphs.
15
            308.    Plaintiff Jane Doe brings this claim on behalf of herself and all members of the
16
     Patient Subclass.
17
            309.    Defendant's business acts and practices are "unlawful" under the Unfair
18
     Competition Law, CAL. Bus. & PROF. CODE§§ 17200 et. seq. (the "UCL") because, as alleged
19
     above, Defendant violated California collllllon law, the California Constitution, and other
20
     statutes and causes of action alleged herein.
21
            310.    Defendant's business acts and practices are also "unfair" under the UCL.
22
     California has a strnng public policy of protecting consumers ' privacy interests, including
23
     consumers' and patients ' personal data. Defendant violated this public policy by, among oth er
24
     things, smTeptitiously collecting, disclosing and othe1wise exploiting Plaintiff and Patient
25
      Subclass Members' Personal Health Infonnation by sharing that infonnation with Facebook
26
     with out Plaintiffs and/or Patient Subclass Members' consent.
27
28
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                              CLASS ACTION COMPLAINT AND D EMAND FOR JURY TRIAL
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 1              311.   Defendant 's business acts an d practices are also "unfair" in that th ey ar e

 2   immoral, unethical, oppressive, unscrnpulous, an d/or substantially injurious to patients. The

 3   gravity of the haim of Defendant's secretly collecting, disclosing, and othe1w ise misusing

 4   Plaintiffs and Patient Subclass Members' Personal Health Info1m ation by baitering it to

 5   Facebook in return for access to the Meta Pixel tool is significant, and there is no

 6   coITesponding benefit resulting from such conduct. Finally, because Plaintiff and Patient

 7    Subclass Members were unawai·e of Defendant's conduct, they could not have avoided the

 8   haim.

 9              312.   Defendant 's business acts an d practices ai·e also "fraudulent" within the

10   meaning of the UCL. Defendant expressly promised Plaintiff and Patient Subclass Members

11   th at they were committed to protecting the confidentiality of their Personal Health

12   Info1m ation. Defendant also promised that they would never "sell, rent, license, or trade"

13   patients ' personally identifying info1mation "to third paities for their own direct mai·keting

14   use unless we receive your express consent to do so." These promises were false. Defendant

15   regulai·ly shai·ed Plaintiff an d Patient Subclass Members' Personal Health Info1mation with

16   Facebook so that Facebook could tai·get Plaintiff and Patient Subclass Members with

17   adve1tising benefiting Facebook and its business paitners.

18              313.   Defendant 's business acts and practices were likely to, and did, deceive

19   members of the public including Plaintiff and Patient Subclass Members into believing th eir

20   Personal Health Info1m ation would be protected from disclosure to Facebook and other third

21   paities.

22              314.   Defendant 's violations were and ai·e willful, deceptive, unfair, an d

23   unconscionable.

24              315.   Had Plaintiff and Patient Subclass Members known that their sensitive medical

25   info1mation would be intercepted, collected, and transm itted to Facebook by Defendant, they

26   would not have used Defendant's services.

27

28
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 1               316.     Plaintiff and Patient Subclass Members have a property interest in their

 2   Personal Health Info1mation. By suneptitiously collecting and oth e1wise misusing Plaintiffs

 3   and Patient Subclass Members' Personal Health Infonnation, Defendant has taken property

 4   from Plaintiff and Patient Subclass Members without providing just (or indeed any)

 5   compensation.

 6               317.     Plaintiff and Patient Subclass Members have lost money and property as a

 7   result of Defendant's conduct in violation of the UCL. Personal Health Info1mation such as

 8   the Personal Health Info1mation collected and transmitted to Facebook by Defendant has

 9   objective monetaiy value . Companies ai·e willing to pay for Personal Health Info1mation, like

10   the info1mation unlawfully collected and transmitted by Defendant to Facebook. For exainple,

11   Pfizer annually pays approximately $12 million to purchase health data from vai·ious

12   sources. 102

13               318.     Consumers also value their personal health data. According to the annual

14   Financial Tmst Index Survey conducted by the University of Chicago's Booth School of

15   Business and Northwestern University's Kellogg School of Management, which interviewed

16   more than 1,000 Americans, 93 percent would not share their health data with a digital

17   platfo1m for free. Half of the survey paiiicipants would only shai·e their data for $100,000 or

18   more, and 22 percent would only share their data if they received between $1 ,000 and

19   $100,000. 103

20               319.     By deceptively collecting, using, and shai·ing Plaintiffs and Patient Subclass

21   Members' Personal Health Infonnation with Facebook, Defendant has taken m oney or

22   prope1iy from Plaintiff and Patient Subclass Members. Accordingly, Plaintiff seeks restitution

23   on behalf of herself and the Patient Subclass.

24
25

26    102   https://www.scientificamerican.com/article/how-data-brokers-make-money-off-yow--medical-records/
27    103
        https://www.beckershospitalreview.com/healthcare-info1mation-technology/how-much-should-health-data-
     cost- l 00k-or-more-according-to-patients.html
28
     CASE NO.                                           - 72 -

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 1           320.    Plaintiff and Patient Subclass Members also face a real and immediate threat

 2   of future injmy to the confidentiality of their Personal Health infonnation both because such

 3   infonnation remains within Defendant's control and because anytime that Plaintiff and/or

 4   Patient Subclass Members interact with Defendant's websites to make appointments, search

 5   for infonnation about their medical conditions, search for a doctor, or othe1w ise seek

 6   assistance with their medical conditions, they risk further disclosure of their Personal Health

 7   fufo1mation. Plaintiff also continues to desire to search for health information on ToITance

 8   Memorial's website. They will continue to suffer haim if the website is not redesigned. If the

 9   website were redesigned to comply with applicable laws, Plaintiff would use the To1Tan ce

10   Memorial website to seai·ch for health info1mation in the futme. Plaintiff and the Patient

11    Subclass Members are therefore also entitled to injunctive relief requiring Defendant to cease

12   all website operations that allow for the third-party capture of Private Health fuformation.

13                   COUNT IX-VIOLATION OF CAL. CIVIL CODE§ 1798.83

14           321.    Plaintiff re-alleges and inc01porates all preceding pai·agraphs.

15           322.    Plaintiff Jane Doe brings this claim on behalf of herself and all members of the

16   Patient Subclass.

17           323.    CALIFORNIA CIVIL CODE       § 1798.83 requires that "if a business has an

18   established business relationship with a customer and has within the immediately preceding

19   calendai· year disclosed personal info1mation" to a third paiiy and "knows or reasonably

20   should know that the third paities used the personal info1mation for the third parties' direct

21   mai·keting pmposes, that business shall" provide in writing to its customers free of chai·ge (1)

22   a list of the categories of personal infonnation provided to third paities and (2) the naines and

23   addresses of all third parties who received the customers' personal information dming the

24   preceding calendai· yeai·. The kinds of "personal infonnation" that the statute expressly

25   protects includes "medical infonnation, "health insurance info1mation," and any other kind of

26   info1mation that "identifies, relates to, describes, or is capable of being associated with ... a

27   paiticulai· individual." CAL. CIVIL CODE§ 1798.80.

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 1           324.     Any customer who is injmed by a violation of the statute may institute a civil

 2   action to recover damages.     CAL. CIVIL CODE       § 1798 .84(b) . Additionally, "for a willful,

 3   intentional, or reckless violation of Section 1798 .83 , a customer may recover a civil penalty

 4   not to exceed three thousand dollars ($3,000) per violation ; oth e1wise, the customer may

 5   recover a civil penalty of up to five hundred dollars ($500) per violation for a violation of

 6    Section 1798.83."   CAL. CIVIL CODE    § 1798 .84(c).      Further, any business that violates,

 7   proposes to violate, or has violated this statute m ay be enjoined.           CAL. CIVIL CODE

 8    § 1798.84(e).

 9           325.     Facebook is a third paity engaged in direct marketing.

10           326.     Defendant failed to disclose to Plaintiff and Patient Subclass Members that it

11   was regularly collecting, transmitting, and shai·ing their Personal Health Info1mation with

12   Facebook so that Facebook could tai·get them with adve1tising. Defendant willfully,

13   intentionally, and/or recklessly failed to provide the info1mation and disclosmes required by

14   CAL. CIVIL CODE      § 1798.83 as pait of a scheme to baiter Plaintiffs and Patient Subclass

15   Members' Personal Health Info1mation to Facebook in return for access to the Meta Pixel

16   tool.

17           327.     Plaintiff and Patient Subclass Members confeITed a benefit on Defendant in

18   the fonn of valuable sensitive medical infonnation that Defendant collected from Plaintiff and

19   Patient Subclass Members under the guise of keeping this inform ation private. Defendant

20   collected, used, and disclosed this infonnation for its own gain, including for adve1tisement

21   purposes, sale, or trade for valuable se1vices from Facebook and other third paities. Defendant

22   had knowledge that Plaintiff and Patient Subclass Members had conferred this benefit on

23   Defendant by interacting with their website, and Defendant intentionally installed the Meta

24   Pixel tool on their website to capture and monetize this benefit confe1Ted by Plaintiff and

25   Patient Subclass Members.

26           328.     Plaintiff and Patient Subclass Members also confeITed a benefit on Defendant

27   by paying Defendant for health cai·e se1vices, which included Defendant's obligation to

28
     CASE NO.                                    - 74 -

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 1   protect Plaintiff s and Patient Subclass Members ' Personal Health Infonnation. Defendant

 2   was aware of receiving these payments from Plaintiff and Patient Subclass Members and

 3   demanded such payments as a condition of providing treatment.

 4           329.   Plaintiff and the Patient Subclass Members would not have used the

 5   Defendant's services, or would have paid less for those services, if they had known that

 6   Defendant would collect, use, and disclose this info1mation to Facebook. The services that

 7   Plaintiff and Patient Subclass Members ultimately received in exchange for the monies paid

 8   to Defendant were worth quantifiably less than the services that Defendant promised to

 9   provide, which included Defendant's promise that any patient communications with

10   Defendant would be treated as confidential and would never be disclosed to third paiiies for

11   marketing purposes with out the express consent of patients.

12           330.   The medical services that Defendant offers ai·e available from many other

13   health care systems who do protect the confidentiality of patient communications. Had

14   Defendant disclosed that it would allow third paiiies to secretly collect Plaintiffs and Patient

15    Subclass Members ' Private Health Infonnation without consent, neither Plaintiff, the Patient

16    Subclass Members, nor any reasonable person would have purchased healthcare from

17   Defendant and/or their affiliated healthcare providers.

18           331.   Defendant unjustly retained those benefits at the expense of Plaintiff and

19   Patient Subclass Members because Defendant's conduct damaged Plaintiff and Patient

20    Subclass Members, all without providing any commensurate compensation to Plaintiff and

21   Patient Subclass Members.

22           332.   Plaintiff and Patient Subclass Members were damaged by Defendant's failure

23   to info1m them that their eve1y communication and Personal Health Information was being

24   shai·ed with Facebook, resulting in, at minimum, the following damages:

25           (a)     Sensitive and confidential info1mation that Plaintiff and Patient

26                   Subclass Members intended to remain private is no longer private;

27

28
     CASE NO.                                   - 75 -

                              CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 78 of 90 Page ID #:97




 1          (b)     Defendant eroded the essential confidential nature of the doctor-patient

 2                  relationship;

 3          (c)     Defendant took something of value from Plaintiff and Patient Subclass

 4                  Members and derived benefit therefrom without Plaintiff's and Patient

 5                  Subclass Members' knowledge or info1med consent and without

 6                  sharing the benefit of such value;

 7          (d)     Plaintiff and Patient Subclass Members did not get the full value of the

 8                  medical services for which they paid, which included Defendant's duty

 9                  to maintain confidentiality; and

10          (e)     Defendant's actions diminished the value of Plaintiff and Patient

11                  Subclass Members' personal inf01mation.

12          333.    Plaintiff also continues to desire to search for health info1mation on Tonance

13   Memorial's website. She will continue to suffer haim if Defendant does not make adequate

14   disclosures regai·ding which third party marketing companies ai·e receiving Plaintiff's and

15   Patient Subclass Members' protected health info1mation. Plaintiff and the Patient Subclass

16   Members are therefore also entitled to injunctive relief requiring Defendant to comply with

17   CAL. Crv. CODE§ 1798.83.

18                                  VIII. DEMAND FOR JURY TRIAL

19          334.    Plaintiff hereby demand a trial by jmy on all issues so triable.

20                                     IX. PRAYER FOR RELIEF

21          WHEREFORE, Plaintiff on behalf of herself and the proposed Class respectfully
22
     requests that the Comi enter an order:
23
            A.      Ce1iifying the Classes and appointing Plaintiff as the Classes ' representative;
24
            B.      Appointing the law fnms of Caddell & Chapman, Ahmad, Zavitsanos, &
25                  Mensing P.C ., and Turke & Strauss, LLP as Class Counsel;
26          C.      Finding that Defendant's conduct was unlawful, as alleged herein;
27          D.      Awarding such injunctive and other equitable relief as the Comi deems just
                    and proper;
28
     CASE NO.                                   - 76 -

                             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 79 of 90 Page ID #:98




 1          E.     A declaration that Defendant is financially responsible for all Class notice and
                   th e administration of Class relief;
 2
            F.     Awarding Plaintiff an d the Class Members statuto1y, actual, compensato1y,
 3                 consequential, punitive, an d nominal dam ages, as well as restitution and/or
                   disgorgement of profits unlawfolly obtained;
 4
            G.     Awarding Plaintiff and the Class members pre-judgment and post-judgm ent
 5                 interest;

 6          H.     Awarding Plaintiff and the Class m embers reasonable attorneys' fees, costs,
                   and expenses; an d
 7
            I.     Granting such other relief as the Comi deems j ust an d proper.
 8

 9   Dated: Janua1y 13, 2023                       Respectfully submitted,

10                                            By: Isl Michael A. Caddell
                                                  Michael A. Caddell (SBN 249469)
11                                                mac@caddellchapman .com
12                                                Cynthia B. Chapman (SBN 16447 1)
                                                  cbc@caddellchapman.com
13                                                Amy E. Tabor (SBN 297660)
                                                  aet@caddellchapman.com
14                                                CADDELL & CHAPMAN
                                                  P .O. Box 1311
15
                                                  Monterey CA 93942
16                                                Tel.: (713) 751-0400
                                                  Fax: (713) 751 -0906
17
                                                   Foster C. Johnson (SBN 289055)
18                                                 David Warden *
                                                   Joseph Amhad*
19
                                                   Nathan Campbell*
20                                                 A hmad, Zavitsanos, & Mensing, P.C.
                                                   1221 McKinney Street, Suite 3460
21                                                 Houston TX 77010
                                                   (713) 655- 1101
22                                                 fj ohnson@azalaw.com
23                                                 dwarden@azalaw.com
                                                   ahmad@azalaw.com
24                                                 ncampbell@azalaw.com

25

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28
     CASE NO.                                   - 77 -

                               CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
     Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 80 of 90 Page ID #:99




 1                                            Samuel J. Strauss*
                                              R aina C. Bonelli*
 2                                            TURKE & STRAUSS LLP
                                              613 Williamson St. , Suite 201
 3                                            Madison, Wisconsin 53703
                                              Telephone: (608) 237-1775
 4                                            Facsimile: (608) 509-4423
                                              sam@turkestrauss.com
 5                                            raina@turkestrnuss.com

 6                                            * Motions for Admission to be filed

 7                                            COUNSEL FOR PLAINTIFFS,
                                              INDIVIDUALLY AND ON BEHALF OF
 8                                            ALL OTHERS SIMILARLY SITUATED

 9

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28
     CASE NO.                              - 78 -

                         CLASS ACTION COMPLAINT AND D EMAND FOR JURY TRIAL
           Electronically Filed by Superior Court of California, County of Orange, 01/13/2023 09:45:59 AM.
         Case  8:23-cv-00444- ROA
 30-2023-01302765-CU-NP-CXC         Document     1-1H.Filed
                                        # 3 - DAVID            03/10/23
                                                         YAMASAKI,          Page
                                                                      Clerk of      81 ofBy90G. Ramirez,
                                                                               the Court        Page IDDeputy
                                                                                                         #:100Clerk.
                                                                                                                CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                        FOR COURT USE ONLY
- Michael A. Caddell (SBN 249469)
  Caddell & Chapman
  P.O. Box 1311
  Monterey, CA 93942
          TELEPHONE NO.:     F13) 151-0400                    FAX NO.:   (713) 751-0906
  ATTORNEY FOR (Name):        aneDoe
SUPERIOR COURT OF CALIFORNIA, COUNTY OF      Orange
        STREET ADDRESS:     751 W. Santa Ana Blvd.
       MAILING ADDRESS:     P.O. Box 22028, Santa Ana, CA 92702-2028
       CITY AND ZIP CODE:    ~i:inti:i Ani:i (:A Q?701
           BRANCH NAME: ICivil Complex Center
     CASE NAME:
     Jane Doe v. Hoag Memorial Presbyterian Hospital
                                                                                                                CASE NUMBER:
       CIVIL CASE COVER SHEET                                     Complex Case Designation
[Z]       Unlimited        Limited D                         D
                                                       Counter              Joinder  D
          (Amount          (Amount
                                                                                         JUDGE:
          demanded         demanded is          Filed with first appearance by defendant
          exceeds $25,000) $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:
                                                                                                                                      CX-103
                              Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                       Provisionally Complex Civil Litigation
      D       Auto (22)                                   D       Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400–3.403)

      D       Uninsured motorist (46)                     D       Rule 3.740 collections (09)            D     Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property            D       Other collections (09)                 D     Construction defect (10)
      Damage/Wrongful Death) Tort                         D       Insurance coverage (18)                D     Mass tort (40)
      D     Asbestos (04)
                                                          D     Other contract (37)                      D      Securities litigation (28)
      D       Product liability (24)                      Real Property                                  D      Environmental/Toxic tort (30)
      D       Medical malpractice (45)                    D     Eminent domain/Inverse                   D      Insurance coverage claims arising from the
      D       Other PI/PD/WD (23)                               condemnation (14)                               above listed provisionally complex case
                                                                                                                types (41)
      Non-PI/PD/WD (Other) Tort                           D     Wrongful eviction (33)

      D       Business tort/unfair business practice (07) D    Other real property (26)                  Enforcement of Judgment
                                                          Unlawful Detainer                              D     Enforcement of judgment (20)

      §
              Civil rights (08)
              Defamation (13)                             D    Commercial (31)                           Miscellaneous Civil Complaint
              Fraud (16)                                  D       Residential (32)                       D     RICO (27)
      D       Intellectual property (19)                  D       Drugs (38)                             D     Other complaint (not specified above) (42)
      D       Professional negligence (25)                Judicial Review                                Miscellaneous Civil Petition
      [Z]  Other non-PI/PD/WD tort (35)                   D     Asset forfeiture (05)
                                                                                                         D     Partnership and corporate governance (21)
      Employment                                          D       Petition re: arbitration award (11)
                                                                                                         D     Other petition (not specified above) (43)
      D    Wrongful termination (36)                      D       Writ of mandate (02)
      D       Other employment (15)                       D       Other judicial review (39)
2. This case LLJ is         LJ is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.     D Large number of separately represented parties     d.                D
                                                                     Large number of witnesses
   b. [Z] Extensive motion practice raising difficult or novel e.                D
                                                                     Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve            in other counties, states, or countries, or in a federal court
   c.     D Substantial amount of documentary evidence         f.                D
                                                                     Substantial postjudgment judicial supervision

3.    Remedies sought (check all that apply): a.       monetary b. [Z] nonmonetary; declaratory or injunctive relief                                  c. [Z] punitive
4.    Number of causes of action (specify): 9
5.    This case [Z] is                 D
                                   is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: January 13, 2023
                                                                                                ~~~~
                                                                                    ►
s/Michael A. Caddell
                                   (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
  •   File this cover sheet in addition to any cover sheet required by local court rule.
  •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
  •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                   Page 1 of 2
                                                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Form Adopted for Mandatory Use
  Judicial Council of California
                                                          CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
   CM-010 [Rev. July 1, 2007]                                                                                                                             www.courtinfo.ca.gov
                Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 82 of 90 Page ID #:101
                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                       complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                             Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                          Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer
                                                                                                                  (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)               above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                   Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                          Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ–Other Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET
           Electronically Filed by Superior Court of California, County of Orange, 01/13/2023 09:45:59 AM.
         Case  8:23-cv-00444- ROA
 30-2023-01302765-CU-NP-CXC         Document     1-1H.Filed
                                        # 4 - DAVID            03/10/23
                                                         YAMASAKI,          Page
                                                                      Clerk of      83 ofBy90G. Ramirez,
                                                                               the Court        Page IDDeputy
                                                                                                         #:102Clerk.
                                                                                                                                                   SUM-100
                                                  SUMMONS                                                                    FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
HOAG MEMORIAL PRESBYTERIAN HOSPITAL


YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
JANE DOE, individually and on behalf of others similarly situated,

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                               CASE NUMBER:
The name and address of the court is:                                                          (Número del Caso):
(El nombre y dirección de la corte es): Superior Court of the State of California,
County of Orange, 751 W. Santa Ana Blvd, Santa Ana, CA 92701

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Michael A. Caddell, Caddell & Chapman, P.O. Box 1311, Monterey, CA 93942 telephone: (713) 751-0400
DATE:                                                               Clerk, by                                            , Deputy
(Fecha)                                                             (Secretario)                                         (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
 [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                     1.   D  as an individual defendant.
                                     2.   D  as the person sued under the fictitious name of (specify):

                                     3.   [KJ on behalf of (specify): HOAG MEMORIAL PRESBYTERIAN HOSPITAL
                                          under: [KJ CCP 416.10 (corporation)                                D      CCP 416.60 (minor)
                                                  D   CCP 416.20 (defunct corporation)                       D      CCP 416.70 (conservatee)
                                                 D CCP 416.40 (association or partnership)                   D      CCP 416.90 (authorized person)
                                                  D   other (specify):
                                     4.   D    by personal delivery on (date):
                                                                                                                                                       Page 1 of 1
Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
  Judicial Council of California
                                                                      SUMMONS                                                                    www.courts.ca.gov
 SUM-100 [Rev. July 1, 2009]
                    Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 84 of 90 Page ID #:103

                                 SUPERIOR COURT OF CALIFORNIA
                                                               COUNTY OF ORANGE




   Superior Court of California, County of Orange

   751 W. Santa Ana Blvd
   Santa Ana, CA 92701


                                                                                                    E-Filing Transaction #: 41434530
                                                               PAYMENT RECEIPT
                                                                                                                      Receipt #: 12995488
 Clerk ID: gramirez              Transaction No: 13167382            Transaction Date: 01/23/2023         Transaction Time: 09:15:54 AM

                                                                                      Fee              Balance             Amount             Remaining
 Case Number                   Fee Type                                    Qty                                              Paid               Balance
                                                                                    Amount$             Due

30-2023-01302765-CU-NP-CXC     194 - Complaint or other 1st paper           1           $435.00           $435.00             $435.00                 $0.00


30-2023-01302765-CU-NP-CXC     34 - Complex Case Fee - Plaintiff            1         $1,000.00          $1,000.00           $1,000.00                $0.00


                                                                                                        Sales Tax:              $0.00
                                                                                                                                      Total
                                                                                                            Total:          $1,435.00 Rem.
                                                                                                                                      Bal:
      E-Filing : - OneLegal




                                                                                                          E-Filing:         $1,435.00




                                                                                          Total Amount Tendered:            $1,435.00


                                                                                                     Change Due:                $0.00




                                                                                                         Balance:               $0.00




                      A $45 fee may be charged for each returned check, electronic funds transfer or credit card payment.

                                                                       COPY




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           Electronically Filed by Superior Court of California, County of Orange, 02/23/2023 08:16:00 AM.
         Case  8:23-cv-00444
30-2023-01302765-CU-NP-CXC          Document
                                 - ROA           1-1H. YAMASAKI,
                                       # 8 - DAVID      Filed 03/10/23
                                                                    Clerk ofPage   85 of
                                                                             the Court By 90   Page IDDeputy
                                                                                          E. efilinguser, #:104Clerk.




  1         Michael A. Caddell (SBN 249469)
            mac@caddellchapman.com
  2         Cynthia B. Chapman (SBN 164471)
            cbc@caddellchapman.com
  3         CADDELL & CHAPMAN
            P.O. Box 1311
  4         Monterrey, CA 93942
            Tel.: (713) 751-0400
  5         Fax: (713) 751-0906
  6         Attorneys for Plaintiff
  7         [additional counsel listed on signature page]
  8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9                                                 COUNTY OF ORANGE
 10          JANE DOE, individually and on
             behalf of others similarly situated,
 11                                                             CASE NO: 30-23-01302765-CU-NP-CXC
                             Plaintiffs,
 12
                     v.                                        PROOF OF PERSONAL SERVICE
 13
             HOAG MEMORIAL
 14          PRESBYTERIAN HOSPITAL
 15                          Defendant.
 16

 17
                    Pursuant to Code of Civil Procedure, section 1011, Plaintiff files the attached proof of
 18

 19         personal service regarding defendant Hoag Memorial Presbyterian Hospital.

 20
            Dated: February 23, 2023                        Respectfully submitted,
 21
                                                       By: /s/ Michael A. Caddell
 22
                                                           Michael A. Caddell (SBN 249469)
 23                                                        mac@caddellchapman.com
                                                           Cynthia B. Chapman (SBN 164471)
 24                                                        cbc@caddellchapman.com
                                                           Amy E. Tabor (SBN 297660)
 25                                                        aet@caddellchapman.com
 26                                                        CADDELL & CHAPMAN
                                                           P.O. Box 1311
 27                                                        Monterrey, CA 93942

 28
            CASE NO. 30-2023-01302765-CU-NP-CXC               −1−

                                                PROOF OF PERSONAL SERVICE
     Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 86 of 90 Page ID #:105




 1                                             Tel.: (713) 751-0400
                                               Fax: (713) 751-0906
 2
                                               Foster C. Johnson (SBN 289055)
 3
                                               David Warden (pro hac vice forthcoming)
 4                                             Joseph Amhad (pro hac vice forthcoming)
                                               Nathan Campbell (pro hac vice forthcoming)
 5                                             AHMAD, ZAVITSANOS, & MENSING, P.C.
                                               1221 McKinney Street, Suite 3460
 6                                             Houston TX 77010
 7                                             Tel: (713) 655-1101
                                               fjohnson@azalaw.com
 8                                             dwarden@azalaw.com
                                               ahmad@azalaw.com
 9                                             ncampbell@azalaw.com
10
                                               Samuel J. Strauss
11                                             Raina C. Borrelli
                                               TURKE & STRAUSS, LLP
12                                             613 Williamson St., Suite 201
                                               Madison, WI 53703
13                                             Tel: (608) 237-1775
14                                             Fax: (608) 509-4423
                                               sam@turkestrauss.com
15                                             raina@turkestrauss.com

16
                                               COUNSEL FOR PLAINTIFF JANE DOE,
17                                             INDIVIDUALLY AND ON BEHALF OF
                                               ALL OTHERS SIMILARLY SITUATED
18

19

20

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      CASE NO. 30-2023-01302765-CU-NP-CXC       −2−

                                      PROOF OF PERSONAL SERVICE
        Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 87 of 90 Page ID #:106




                                          ORANGE COUNTY SUPERIOR COURT
                                                   SANTAANA

JANE DOE                                                       Case No.:30-2023-01302765-CU-NP-CXC

                          Plaintiff
                     V.



HOAG PRESBYTERIAN HOSPITAL

                          Defendant




                                                PROOF OF SERVICE



That L James E. Voelkl, Jr. hereby solemnly affirm under penalties of perjury and upon personal
knowledge that the contents of the foregoing documents are true and do affirm I am a competent person
over 18 years of age and not a party to this action

That on 2/J 2/2023 at l 0:01 AJ\1 at One Hoag Drive, Newport Beach, CA 92263 I served HOAG
MEMORIAL PRESBYTERIAN HO SPITAL with the following list of documents: SUMMON; CLASS
ACTION COMPLAINT AND DEMAND FOR JURY TRIAL; CIVIL CASE COVER SHEET:
ALTERNATfVE DISPUTE RESOLUTION (ADR) rNFORMA T!ON PACKAGE by then and there
personally delivering a true and correct copy of the documents into the hands of and leaving with Adelene
J. whose relationship is Admin, Person authorized to accept service of process in Orange County
That the description of the person actually served is as follows: Gender: Female Skin: Hispanic Age: 30s
Height: 5'2" Weight: 150 Hair: Black Eyes: Marks:


That the fee for this Scr.'icc is S .00




                                                                             1

                                               James E. vcle1kl, Jr-
                                               Contractc,iby CLSS Online, Inc.
                                               1250 Glcnoaks Boukvard. Suite 188
                                               Glendale, CA 91201
                                               (800) 336-2577




                                                                                                     Ord.:r #:8336
        Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 88 of 90 Page ID #:107


SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
Civil Complex Center
751 W. Santa Ana Blvd
Santa Ana, CA 92701
SHORT TITLE: Doe vs. Hoag Memorial Presbyterian Hospital



    CLERK'S CERTIFICATE OF MAILING/ELECTRONIC                                           CASE NUMBER:
                     SERVICE                                                            30-2023-01302765-CU-NP-CXC


  I certify that I am not a party to this cause. I certify that the following document(s), Minute Order dated 03/01/23, have
  been transmitted electronically by Orange County Superior Court at Santa Ana, CA. The transmission originated from
  Orange County Superior Court email address on March 1, 2023, at 10:49:56 AM PST. The electronically transmitted
  document(s) is in accordance with rule 2.251 of the California Rules of Court, addressed as shown above. The list of
  electronically served recipients are listed below:

  CADDELL & CHAPMAN
  MAC@CADDELLCHAPMAN.COM




                                                                       Clerk of the Court, by:
                                                                                                       ·rr      ~
                                                                                                                         , Deputy




                        CLERK'S CERTIFICATE OF MAILING/ELECTRONIC SERVICE


V3 1013a (June 2004)                                                                            Code of Civ. Procedure , § CCP1013(a)
             Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 89 of 90 Page ID #:108
                               SUPERIOR COURT OF CALIFORNIA,
                                    COUNTY OF ORANGE
                                  CIVIL COMPLEX CENTER
                                           MINUTE ORDER
DATE: 03/01/2023                    TIME: 10:09:00 AM                 DEPT: CX103
JUDICIAL OFFICER PRESIDING: Lon F. Hurwitz
CLERK: M. Diaz
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: . None

CASE NO: 30-2023-01302765-CU-NP-CXC CASE INIT.DATE: 01/13/2023
CASE TITLE: Doe vs. Hoag Memorial Presbyterian Hospital
CASE CATEGORY: Civil - Unlimited   CASE TYPE: Non-PI/PD/WD tort - Other

EVENT ID/DOCUMENT ID: 73962789
EVENT TYPE: Chambers Work



APPEARANCES

There are no appearances by any party.

The Court finds that this case is exempt from the case disposition time goals imposed by California Rule
of Court, rule 3.714 due to exceptional circumstances and estimates that the maximum time required to
dispose of this case will exceed twenty-four months due to the following case evaluation factors of
California Rules of Court, rules 3.715 and 3.400: Case is Complex.

Each party who has not paid the Complex fee of $ 1,000.00 as required by Government Code section
70616 shall pay the fee to the Clerk of the Court within 10 calendar days from date of this minute order.
Failure to pay required fees may result in the dismissal of complaint/cross-complaint or the striking of
responsive pleadings and entry of default.

The Case Management Conference is scheduled for 05/24/2023 at 01:30 PM in Department CX103.

CASE MANAGEMENT CONFERENCE:
Plaintiff shall, at least five court days before the hearing, file with the Court and serve on all
parties of record or known to Plaintiff a brief, objective summary of the case, its procedural
status, the contentions of the parties and any special considerations of which the Court should
be aware. Other parties who think it necessary may also submit similar summaries three court days prior
to the hearing. DO NOT use the CMC (Case Management Statement) form used for non-complex cases
(Judicial Council Form CM-110).

ELECTRONIC FILING:
This case is subject to mandatory electronic filing pursuant to Superior Court Rules, County of Orange,
Rule 352 and mandatory electronic service by order of this Court. Plaintiff shall give notice of the Status
Conference and the electronic filing and service requirement to all parties of record or known to plaintiff
and shall attach a copy of this minute order.




DATE: 03/01/2023                                MINUTE ORDER                                     Page 1
DEPT: CX103                                                                                  Calendar No.
          Case 8:23-cv-00444 Document 1-1 Filed 03/10/23 Page 90 of 90 Page ID #:109
CASE TITLE: Doe vs. Hoag Memorial Presbyterian    CASE NO: 30-2023-01302765-CU-NP-CXC
Hospital
PROPOSED ORDERS:
All proposed orders (including those submitted pursuant to stipulation) must be submitted in 2 electronic
formats. One copy is to be filed in Word (without attachments), and another copy in.pdf format with all
attachments/exhibits attached to it. Failure to follow this rule may result in the proposed order not being
brought to the attention of the Court in a timely fashion. Ensure that the proposed order is identified as a
"Proposed Order".

BOOKMARKING:
Bookmarking of exhibits to motions and supporting declarations - The court requires strict compliance
with CRC, rule 3.1110 (f) (4) which requires electronic exhibits to include electronic bookmarks with the
links to the first page of each exhibit, and with bookmarked titles that identify the exhibit number or letter
and briefly describe the exhibit. CRC, rule 3.1110 (f) (4).

The court may continue a motion that does not comply with rule 3.1110 (f) (4) and require the parties to
comply with that rule before resetting the hearing.

Additional departmental information may be obtained by visiting the Court’s website at:

CIVIL COMPLEX GUIDELINES –
http://www.occourts.org/directory/civil/complex-civil/department-guidelines.pdf

Complex Civil Courtroom Schedule - GUIDELINES FOR CX103–
http://www.occourts.org/directory/civil/complex-civil/calendar-schedule/guidelines_CX103.html

CIVIL TENTATIVE RULINGS –
http://www.occourts.org/directory/civil/tentative-rulings/

Clerk to give notice. Plaintiff is to give notice to any party not listed on the Clerk's Certificate of
Mailing/Electronic Service and is to file a Proof of Service.




DATE: 03/01/2023                                   MINUTE ORDER                                     Page 2
DEPT: CX103                                                                                     Calendar No.
